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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

__________________________________________
                                             )
UNITED STATES OF AMERICA, ex rel.            )
                                             )
      DAWN M. KLOBUCHAR                      )
      201 Riviera Terrace                    )
      Waterford, MI 48238                    )
                                             )   Case No. 13-14446
                    Plaintiffs,              )   FILED UNDER SEAL
                                             )   Pursuant to 31 U.S.C. § 3730
      vs.                                    )   (False Claims Act)
                                             )
MICHIGAN JEWISH INSTITUTE                    )
     6890 West Maple Road                    )
     West Bloomfield, Michigan 48322         )   JURY TRIAL DEMANDED
                                             )
 Serve Registered Agent:                     )   DO NOT PLACE ON PACER
       RABBI KASRIEL SHEMTOV                 )
       6890 West Maple Road                  )
       West Bloomfield, Michigan 48322       )
                                             )
      and                                    )
                                             )
CHABAD-LUBAVITCH OF MICHIGAN                 )
                                             )
Serve Registered Agent:                      )
       RABBI BEREL SHEMTOV                   )
       14100 West 9 Mile Road                )
       Oak Park, Michigan 48237              )
                                             )
      and                                    )
                                             )
 THE SHUL                                    )
                                             )
Serve Registered Agent:                      )
       RABBI KASRIEL SHEMTOV                 )
       6890 West Maple Road                  )
       West Bloomfield, Michigan 48322       )
                                             )
      and                                    )
                                             )
FRIENDSHIP CIRCLE                            )
                                         1

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                                          )
Serve Registered Agent:                   )
       RABBI LEVI SHEMTOV                 )
       6892 West Maple Road              )
       West Bloomfield, Michigan 48322    )
                                          )
       and                                )
                                          )
RABBI KASRIEL SHEMTOV                     )
       6890 Maple Road                    )
       West Bloomfield, Michigan 48322    )
                                          )
       and                                )
                                          )
RABBI YUDI MANN                           )
       6890 West Maple Road              )
       West Bloomfield, Michigan 48322    )
                                          )
       and                                )
                                          )
RABBI DOV STEIN                           )
       6890 West Maple Road               )
       West Bloomfield, Michigan 48322    )
                                          )
                     Defendants.          )
                                          )
__________________________________________)


        RELATOR DAWN KLOBUCHAR’S SECOND AMENDED COMPLAINT

                                       INTRODUCTION

       1.      Qui Tam relator Dawn M. Klobuchar (“Klobuchar” or “Relator”), by her

attorneys, on behalf of the United States of America, files this complaint against Michigan

Jewish Institute (“MJI” or “Defendant”), the Lubavich Foundation of Michigan (“the Chabad” or

“Defendant”), The Shul (or “Defendant”), Friendship Circle (or “Defendant”), Rabbi Kasriel

Shemtov (“Shemtov” or “Defendant”), and Rabbi Yudi Mann (“Mann” or “Defendant”),

collectively “Defendants”, to recover damages, penalties, and attorneys’ fees for violations of the

Federal False Claims Act (“FCA”), 31 U.S.C. §§ 3729 et seq.-3730(h).
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       2.      Pursuant to 31 U.S.C. § 3730(b)(2), this second amended complaint must be filed

in camera and under seal, without service on the Defendants. The second amended complaint

remains under seal while the Government conducts an investigation of the allegations in the

complaint and determines whether to join this action.

       3.      Defendants violated the FCA on five counts, which led to their unlawful and

fraudulent retention of federal funds made available to educational institutions through the

Higher Education Act of 1965, Title IV programs (“Title IV, HEA”), which is administered by

the Department of Education (“DEd”). Defendants (1) knowingly present and continue to present

fraudulent claims to the Government to receive Pell Grants; (2) knowingly used and continue to

use false records to the Government to receive Pell Grants; (3) conspired to present and use

falsified information to receive federal funding; (4) have not fulfilled their obligation to return

the federal funds they have fraudulently received to the Government; and (5) retaliated against

Relator for her protected activity, which includes inquiring about the fraudulent activity.

       4.      Defendants had one singular goal: enroll as many students as possible, without

raising a red flag, to maximize federal funds they received from the United States in the form of

Pell Grants.

       5.      To achieve this goal, Defendants enrolled actual and/or fictitious Israeli students

at MJI and applied to receive federal Pell Grant funding without the students’ knowledge or

permission.

       6.      Defendants submitted Pell Grant applications in the names of students who had no

intention of signing up for MJI and even in the names of fictitious students.




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       7.      Not only do these students have no interest in attending MJI, or even do not exist,

but also MJI does not conduct any classes on location, has no professors, and has no system of

taking attendance, and does not provide students any educational content.

       8.      All of MJI’s courses are conducted online or as an alleged “parallel” study abroad

course. A parallel course is “created” by MJI for students who want to study abroad in the United

States through MJI, but the program is administered online or at the students’ home yeshiva or

seminary in Israel. The students never leave Israel.

       9.      Per MJI’s accreditations as a distance learning institute, MJI has to provide

students fifty percent of the educational materials, while the yeshivas/seminaries provide the

remaining fifty percent. However, MJI does not provide any educational content.

       10.     In anticipation of an upcoming Accrediting Council for Independent Colleges and

Schools (“ACICS”) audit in February 2013, Defendants falsified their student records to attempt

to pass the audit and maintain MJI’s accreditations.

       11.     ACICS is an accrediting organization for degree granting institutions, such as

MJI. Once an organization becomes accredited by ACICS, it will have to maintain its

accreditations. The ACICS conducts audits to ensure organizations are compliant with its

regulations.

       12.     Pursuant to the FCA, Relator seeks to recover on behalf of the United States any

damages and civil penalties arising from Defendants’ knowingly false and/or fraudulent

certifications of eligibility to the DEd for its Title IV HEA program. From 2007 through the

present, Defendants knowingly falsified claims for payment by the Government in the form of

Pell Grants, submitted the falsified claims to the Government to receive Pell Grants, conspired to

defraud the government, and never returned the federal funds they fraudulently received.


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Defendants’ actions violate 31 U.S.C. § 3729(a)(1)(A), 31 U.S.C. § 3729(a)(1)(B), 31 U.S.C. §

3729(a)(1)(C), and 31 U.S.C. § 3729(a)(1)(G).

        13.     Pursuant to 31 U.S.C. § 3730(h), Relator seeks to recover damages resulting from

MJI’s retaliation against her. MJI’s retaliatory actions came directly after Relator made several

protected disclosures regarding Defendants’ fraudulent activity. Defendants’ retaliation includes

placing restrictions on Relator which diminished her ability to perform her job duties, Relator’s

constructive discharge, and MJI withholding her salary and bonuses.

                                  JURISDICTION AND VENUE

        14.     This Court has subject matter jurisdiction over this action under 31 U.S.C. §§3730

and 3732.

        15.     This Court has personal jurisdiction over Defendant MJI, pursuant to 31 U.S.C.

§3732(a), because MJI is located in this District, and MJI regularly transacts business in this

District.

        16.     This Court has personal jurisdiction over Defendant the Chabad, pursuant to 31

U.S.C. §3732(a), because the Chabad is located in this District, and the Chabad regularly

transacts business in this District.

        17.     This Court has personal jurisdiction over Defendant the Shul, pursuant to 31

U.S.C. §3732(a), because the Shul is located in this District, and the Shul regularly transacts

business in this District.

        18.     This Court has personal jurisdiction over Defendant Friendship Circle, pursuant to

31 U.S.C. §3732(a), because Friendship Circle is located in this District, and Friendship Circle

regularly transacts business in this District.




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       19.     This Court has personal jurisdiction over Defendant Shemtov, pursuant to 31

U.S.C. §3732(a), because Shemtov is a resident of the State of Michigan.

       20.     This Court has personal jurisdiction over Defendant Mann, pursuant to pursuant

to 31 U.S.C. §3732(a), because Mann is a resident of the State of Michigan.

       21.     Venue is proper in this District pursuant to 31 U.S.C. §3732(a), and under 28

U.S.C. §§1391(b).

       22.     Relator knows of no other complaints that have been filed against Defendants

alleging the same or similar allegations. Relator is an original source as defined by the FCA.

                                            PARTIES

A.     Plaintiff

       23.     Qui Tam Plaintiff Dawn M. Klobuchar is a citizen of the United States and a

resident of the State of Michigan.

       24.     Klobuchar has personal knowledge that Defendants (1) knowingly presented, or

caused to be presented, and continue to knowingly present and cause to be presented, fraudulent

claims for Pell Grants to the Government; (2) knowingly used, and continue to use, false records

to submit fraudulent claims to the Government; (3) conspired to present and use fraudulent

information to submit fraudulent claims to the Government in order to obtain Federal funds

under Title IV of the HEA; and (4) knowingly did not return the federal funds they had

fraudulently obtained to the Government. Also, MJI retaliated against Relator for pointing out

that MJI was engaging in fraudulent activity in violation of the FCA.

       25.     Klobuchar began working at MJI on October 5, 2012, as an IT Manager. Prior to

her employment with MJI, Klobuchar held a number of positions in the field of information

technology.


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       26.       On April 28, 2013, Klobuchar was constructively discharged from MJI because

she believed continuing her employment at MJI would be impossible without becoming

complicit in Defendants’ fraud. Additionally, MJI had responded to Relator’s continued

complaints about Defendants’ fraudulent activity by retaliating against her and systematically

restricting her resources, making it increasingly difficult for her to do her job. Her last day at

MJI was May 7, 2013.

B.     Defendants

       27.       Founded in 1994, MJI is a non-profit Jewish-sponsored independent institution

with academic baccalaureate degree-granting programs.

       28.       MJI offers a study abroad program, which allows Israeli students to take courses

in America at MJI as the “host” school.

       29.       MJI’s primary office is located at 6890 West Maple Road, West Bloomfield,

Michigan 48322.

       30.       MJI operates out of a single building located at 19900 Nine Mile Road,

Southfield, Michigan 48075, with administrative offices for approximately twenty administrative

staff members.

       31.       The Chabad-Lubavitch is a philosophy, a movement, and an organization with

many branches. The Chabad-Lubavitch movement, a Hasidic movement, has it official

headquarters in Brooklyn, New York. The Lubavitch Foundation of Michigan is Chabad-

Lubabitch’s regional chapter in Michigan, an active corporation, and considers the Shul one of

its centers in West Bloomfield, Michigan.

       32.       The Chabad founded MJI and MJI houses its Michigan chapter at the Shul.




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        33.     The Shul is the synagogue located at the Jack & Miriam Shenkman Building. The

Shul and MJI share the same address and are one in the same entity: 6890 West Maple Road,

West Bloomfield, Michigan 48322.

        34.     Friendship Circle is a non-profit organization that provides assistance to families

and individuals with special needs. Friendship Circle is located at 6892 West Maple Road, West

Bloomfield, Michigan 48322.

        35.     Friendship Circle is affiliated with the Chabad-Lubavich organization and the

Chabad considers Friendship Circle one of its centers in West Bloomfield, Michigan. Friendship

Circle owns the West Maple Road building that MJI and the Shul list as their address.

Friendship Circle leases land to the Chabad.

        36.     Rabbi Kasriel Shemtov is the President and primary decision maker at MJI. He is

also the registered agent of MJI. The registered agent of the Chabad, Rabbi Berel Shemtov, is

Rabbi Kasriel Shemtov’s father.

        37.     Shemtov is the Executive Director of Mayanot Institute of Jewish Studies, a

prestigious organization in Israel that facilitates free “birthright” trips to Israel to over 380,000

Jewish youth around the world, and also operates many yeshivas and seminaries in Israel.

        38.     Mann (“Mann”), MJI’s Marketing and Study Abroad Manager, coordinated the

partnership between MJI and the yeshivas and seminaries in Israel. Shemtov, with the help of

Mann, orchestrated and at the time of this filing continues to facilitate the study abroad scheme

that led to MJI defrauding the Government of $40,687,552 by submitting falsified Pell Grant

applications, starting in 2007 and continuing to the present. The operations of these six co-

Defendants are so intertwined that they are effectively one single enterprise. The relationship

among the defendants is demonstrated in the chart below:


                                                   8

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                                                 Chabad-Lubavitch
                                             (Headquartered in Brooklyn, NY)




                                          Lubavitch Foundation of Michigan
                                          Registered Agent: Rabbi Berel Shemtov




    Michigan Jewish Institute                             The Shul                             Friendship Circle
         6890 West Maple Road                   Synagogue at the Jack & Miriam                 6892 West Maple Road
   West Bloomfield, Michigan 48322                     Shenkman Building                  West Bloomfield, Michigan 48322
Registered Agent: Rabbi Kasriel Shemtov              6890 West Maple Road                 Registered Agent: Levi Shemtov
                                               West Bloomfield, Michigan 48322
                                            Registered Agent: Rabbi Kasriel Shemtov




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                                   THE FALSE CLAIMS ACT

        39.     The FCA, 31 U.S.C. § 3729(a)(1)(A), makes knowingly presenting or causing to

 be presented to the United States any false or fraudulent claim for payment a violation of federal

 law for which the United States may recover three times the amount of the damages the

 government sustains and a civil monetary penalty of $5,500 to $11,000 per claim.

        40.     The FCA, 31 U.S.C. § 3729(a)(1)(B), makes knowingly making, using, or causing

 to be used or made, a false record or statement to get a false or fraudulent claim paid or approved

 by the Government a violation of federal law for which the United States may recover three

 times the amount of the damages the government sustains and a civil monetary penalty of $5,500

 to $11,000 per claim.

        41.     The FCA, 31 U.S.C. § 3729(a)(1)(C), makes any person who conspires to defraud

 the United States by getting a false or fraudulent claim allowed or paid, liable for three times the

 amount of the damages the Government sustains and a civil monetary penalty of $5,500 to

 $11,000 per claim.

        42.     The FCA, 31 U.S.C. § 3729(a)(1)(G), makes knowingly making, using, or causing

 to be made or used, a false record or statement material to an obligation to pay or transit money

 or property to the Government, or knowingly concealing or knowingly and improperly avoiding

 or decreasing an obligation to pay or transit money or property to the Government a violation of

 the FCA.

        43.     The FCA, 31 U.S.C. § 3730(h), considers an employer’s discharge, demotion,

 suspension, harassment, or any other discriminatory actions against the employee because of the

 employee’s lawful actions a violation of the FCA.




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        44.     For all unlawful conduct for which Defendants are liable that occurred on or

 before May 20, 2009, the date on which Congress amended and renumbered the Federal False

 Claims Act pursuant to the Fraud Enforcement and Recovery Act (“FERA”), Pub.L.No. 111-21,

 §4, 123 Stat. 1617, 1621 (2009), this Complaint should be deemed to include violations of the

 FCA prior to the FERA amendments, specifically, 31 U.S.C. §3729(a)(1), (2) and (7).

                      THE HIGHER EDUCATION ACT AND TITLE IV

        45.     The federal government distributes funds under Title IV of the HEA, 20 U.S.C. §

 1094, to assist with the costs of secondary education. To receive federal funds under the HEA,

 schools must enter into a Program Participation Agreement (“PPA”) with the DEd, promising to

 abide by a host of statutory, regulatory, and contractual requirements.

        46.     The PPA is an agreement with the Secretary of Education and sets forth a number

 of requirements that an institution must meet in order to receive federal funds under Title IV of

 the HEA:

        The agreement shall condition the initial and continuing eligibility of an
        institution to participate in a program upon compliance with the following
        requirements ... (3) The institution will establish and maintain such
        administrative and fiscal procedures and records as may be necessary to ensure
        proper and efficient administration of funds received from the Secretary or
        from students . . . ( 5) The institution will submit reports to the Secretary ...
        containing such information as the Secretary may reasonably require to carry
        out the purpose ... (20) The institution will not provide any commission, bonus,
        or other incentive payment based directly or indirectly on success in securing
        enrollments or financial aid to any persons or entities engaged in any student
        recruiting or admission activities or in making decisions regarding the award
        of student financial assistance . . . (21) The institution will meet the
        requirements established by the Secretary and accrediting agencies or
        associations ... (22) The institution will comply with the refund policy
        established pursuant to section 1091b of this title.

 20 U.S.C. § 1094(a) (Emphasis added)




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        47.     To qualify for a Pell Grant, which is federal grant money disbursed under Title IV

 of the HEA, students must meet financial eligibility requirements. Among the requirements, a

 student must: (a) be enrolled and working towards a degree or certificate in an eligible program;

 (b) be a citizen of the United States or an eligible noncitizen; (c) have a valid Social Security

 Number; (d) certify that he/she will use federal student aid only for educational purposes; and (e)

 male students must be registered with the Selective Service. 20 U.S.C. § 1091.

                                   FACTUAL ALLEGATIONS

 A.     MJI Background and Enrollment of Israeli Students

        48.     Since its founding in 1994, MJI had a continuing enrollment of only a few

 hundred students.

        49.      Starting in 2007, MJI began creating schools in Israel and the number of enrolled

 students at the Michigan location jumped to a few thousand.

        50.     The reason for this significant jump in enrollment numbers was a partnership

 between MJI and yeshivas and seminaries in Israel. A yeshiva is a Jewish educational institution

 for men, which focuses on religious texts; a seminary is the yeshiva equivalent for women.

        51.     Mann, MJI’s Marketing and Study Abroad Manager, represented MJI in Israel,

 and established contracts between MJI and the yeshivas/seminaries in Israel so that the

 yeshivas/seminaries would be enrolled in MJI’s study abroad program.

        52.     As agents of MJI, Mann and twenty-five to thirty other recruiters approached the

 yeshivas and seminaries in Israel. Mann and the recruiters committed to enrolling to study

 abroad through MJI every student who applied. The agents would then apply for a Pell Grant on

 behalf of the students without the students’ knowledge.




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        53.     MJI would split the Pell Grant proceeds with the yeshiva or seminary - half would

 go to MJI and half to the yeshiva or seminary. In some cases MJI would agree to facilitate

 finding a state-side study abroad program with a “host school” other than MJI. None of the Pell

 Grant was ever applied to the individual student’s tuition or study abroad fees.

        54.     The Israeli yeshiva and seminary students largely speak Hebrew. Therefore, they

 relied on MJI’s agents to translate the application documents for MJI.

        55.     In their sales pitch to students, agents of MJI lied to the yeshiva and seminary

 students and told them that Pell Grants were automatically available to all students attending a

 school in the United States, even though that is not true.

        56.     Based on conversations with Lyne Graham (“Graham”), MJI’s Human Resources

 Manager, Relator determined that MJI was paying brokers and recruiters a commission based on

 the number of students they were able to enroll in Pell Grant funding.

        57.     On or about early November 2012, Graham disclosed MJI’s commission-based

 recruitment practice to Klobuchar. Graham said that MJI planned to suspend it in preparation for

 the audit. However, Mann continued this practice into November 2012 and was caught by Moshe

 Klein (“Klein”), MJI’s former Chief Operations Officer, who disclosed Mann’s fraudulent

 practices in the November management meeting.

        58.     Mann was never disciplined by MJI for his fraudulent practices.

        59.     The more yeshiva/seminaries and students Mann enrolled in MJI’s study abroad

 program, the more compensation he received from MJI. Mann received a percentage of the total

 amount of the study abroad students’ tuition, paid for by Pell Grant funds.




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        60.     Regardless of whether a student intended to sign up for classes at MJI, MJI

 registered the student and applied for Pell Grants using names of students who had shared their

 contact information with MJI during Mann’s recruiting trips to Israel.

        61.     Defendants acquired the names and demographic information of real individuals

 through the partnerships MJI established with yeshivas/seminaries in Israel and through

 Shemtov’s access to databases containing names and demographic information of tens of

 thousands of individuals. Defendants then used said names and demographic information to

 submit FAFSA applications that appeared to be valid because the information used was valid.

 Defendants engaged in identify fraud when they stole the said names and demographic

 information and falsified FAFSA applications without the knowledge or consent of the

 individuals.

        62.     MJI also invented fictitious students whom they “enrolled” in MJI’s study abroad

 program and submitted Pell Grant applications for.

        63.     MJI’s fraudulent enrollment and Pell Grant application process was made easy by

 the “electronic” signature required on each form. Pell Grant applications only require the

 applicant’s name typed on a signature line. MJI fraudulently entered students’ names as

 electronic signatures without the students’ consent of knowledge.

        64.     MJI began processing fraudulent enrollment application documents in batches of

 hundreds. MJI accepted 100 percent of these students through an automatic approval protocol on

 a nightly basis.

        65.     MJI also began processing fraudulent Pell Grant applications in bulk.

        66.     MJI has no physical classrooms; no classes on location; no professors on location

 in Michigan; no system of taking attendance; no system of maintaining grades.


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          67.      All of MJI’s courses are conducted online or as a “parallel” study abroad course.

 A parallel course is “created” by MJI for students who want to study abroad in the United States

 through MJI, but the program is administered online or at the students’ home yeshiva or

 seminary in Israel. The students never leave Israel. Nevertheless, MJI fraudulently applies for

 Pell Grants for these students.

          68.      MJI explained to Relator that the yeshivas were “host schools” and an extension

 of MJI, which made the yeshivas and seminaries US schools and therefore eligible for Pell Grant

 funds.

          69.      Relator visited the websites for some of the “host schools” MJI had partnered

 with. The “host schools” advertised “Free US Money” to attend religious studies. These websites

 added that no commitment to MJI was required except some paperwork. MJI lists forty

 institutions in Israel as study abroad participating schools. For example, Halichos Bais Yaakov

 Seminary advertised on its website that “Halichos students who are accepted into the MJI Study

 Abroad program are eligible for United States Federal Aid in the form of PELL Grants.”

          70.      These Israeli students, who were signed up without their knowledge or consent,

 do not meet the Pell Grant eligibility requirements because:

                a. They are not US nationals or eligible non-nationals.

                b. MJI never acquired transcripts for these students to ensure that they had a high

                   school diploma or an equivalent. Several hundred students are missing transcripts.

                c. Several hundred students are missing Social Security Numbers. Relator believes

                   that the Social Security Numbers associated with the fictitious students made up

                   by MJI belong to others because the dates of birth linked to some of the Social

                   Security Numbers date back to the 1930s.


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                 d. The Israeli males are not registered for the U.S. Selective service. In fact, they

                    have a two-year commitment to the Israeli military.

           71.      MJI’s study abroad department is separate from MJI’s admissions department.

 The study abroad department handles its own admissions of Israeli students.

 B.        Relator Start Working at MJI

           72.      In October 2012, within a month of her employment at MJI, Relator grew

 suspicious of MJI’s practices. She discovered that MJI was creating fake accounts for fake

 applicants using fake information. MJI would then receive Pell Grants for these same students.

           73.      Relator discovered that the applicants were missing transcripts, had fake email

 addresses with invalid domains, incomplete addresses, or were otherwise missing information

 that was required for a complete application such as Social Security Numbers.

           74.      Relator’s access to a web-based database, Long Jump, demonstrated where MJI

 stored the information of the students Mann’s staff had recruited in Israel.

           75.      Relator’s raw data reveals that several hundred students were enrolled in classes

 well after the semesters began either in September or January.

           76.      Even through students were being enrolled weeks and months into the traditional

 academic semester, the students were paying full tuition and receiving full credit on the

 traditional academic calendar. The addresses and phone numbers for the new students were from

 Israel.

           77.      Relator could see that there were mass updates being performed on Long Jump

 and hundreds of students were added to MJI’s roster at a time. These mass updates alarmed

 Relator who knew that MJI could not possibly be simultaneously enrolling so many students

 mid-semester.


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        78.     While MJI was adding students to Long Jump mid-semester, MJI was creating

 Pell Grant applications reflecting that the students had begun at the beginning of the semester.

 MJI was essentially maintaining two sets of conflicting records: the “true” enrollment patterns

 captured in Long Jump and the falsified Pell Grant applications.

        79.     MJI’s billing process was even more difficult because MJI had forged Israeli

 students’ electronic signatures on enrollment agreements that provided for a distribution of the

 Pell Grant funds first to MJI and then to the non-existent “host” school. The students never

 received any portion of the grant funds.

        80.     As part of her work, MJI gave Relator access to the online classroom

 environment, Sakai, which was used to conduct classes.

        81.     Dov Stein (“Stein”), Director of Academics at MJI, explained to Relator that the

 students in the Sakai classes frequently spoke no English even though the classes were conducted

 in English, causing Relator to question the value of the services MJI was providing.

        82.     MJI contended that students at the yeshivas and seminaries received “study

 abroad” credit for any classes taught at the yeshivas and seminaries.

        83.     MJI created a fake certificate program for all the fictitious study abroad students

 called the Judaic Studies Certificate, under the Judaic Studies major, and enrolled all the

 fictitious students in that program. Originally the certificate program was a one-year program,

 but MJI extended it to a two-year program because it ensured more Pell Grant funds.

        84.     Even though some of these students were enrolled in the two-year Judaic Studies

 Certificate program starting in 2008 and should have completed the program in 2010, MJI

 presently lists them as active students in its records and receives Pell Grants. Relator has raw

 date of thousands of these student records.


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          85.   During November 2012 management meeting within a month of starting at MJI,

 Relator learned that MJI was concerned about reconciling the Long Jump records showing mid-

 semester, mass enrollment, with the Pell Grant applications that showed a more orderly

 enrollment pattern -- and how it would explain the discrepancies to ACICS in the upcoming

 audit.

 C.       MJI Enrolls Yeshiva/Seminary Students with the Students’ Consent or Knowledge

          86.   Per Shemtov’s instructions, Yudi Mann (“Mann”), MJI’s Marketing and Study

 Abroad Manager, coordinated the partnership between MJI and yeshivas/seminaries in Israel.

          87.   As agents of MJI, Mann and twenty-five to thirty other recruiters approached the

 yeshivas/seminaries in Israel.

          88.   The partnership between MJI and the yeshivas/seminaries meant that the

 yeshivas/seminaries would share their students’ names and demographic information, including

 but not limited to full names, addresses, phone numbers, Social Security Numbers, with MJI.

 Mann and his recruiting team would then falsify MJI enrollment forms and FAFSA applications

 and sign them electronically in Israel, essentially committing identity fraud.

          89.    In return for the information the yeshivas/seminaries shared with MJI, MJI would

 split the Pell Grant proceeds with the yeshiva/seminary - half would go to MJI and half to the

 yeshiva or seminary.

          90.   As of 2008, MJI worked with 203 yeshivas and seminaries in Israel to “enroll”

 students in its study abroad program.

          91.   Once Mann’s staff in Israel acquired names and demographic information of

 students, they upload that information into Long Jump.




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           92.   Relator observed that Mann’s team in Israel routinely made mass updates to the

 Long Jump data, adding tens and hundreds of students at a time.

           93.   When Mann’s team successfully struck a deal with a yeshiva/seminary to get the

 names and demographic information of its students, they would then upload the information of

 all of those students at the same time.

           94.   MJI created an assembly line to facilitate its scheme to defraud the government.

 The first half of the operations took place in Israel. First, Mann and his recruiters would

 approach yeshivas/seminaries and enter into partnerships with them to purchase, in whole,

 demographic information of students at the yeshiva/seminary.

           95.   Mann’s team included three Senior Study Abroad Recruiters, Yacov Epstein,

 Chaya Jacobowitz, and Avrohom Kryschek, all of who report directly to Mann.

           96.   The role of Mann’s team was to recruit schools as well as students.

           97.   Then, Mann’s team would complete the MJI enrollment forms and FAFSA

 applications the “students.” The second half of the operations took place at MJI in the United

 States. As the Director of Admissions and Financial Aid at MJI, Peters would then enroll all the

 students based on the applications submitted by Mann and his team. This process took place

 weekly, with MJI enrolling students up until the very end of each semester.

           98.   Defendants enrolled several hundred students in classes well after the semesters

 began either in September or January.

           99.   Even though students were being enrolled weeks and months into the traditional

 academic semester, the students were paying full tuition and receiving full credit on the

 traditional academic calendar. The addresses and phone numbers for the new students were from

 Israel.


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        100.    Defendants enrolled entire yeshivas/seminaries at a time in MJI’s study abroad

 program. For example, Mann signed up 27 students at Azmara in Israel and overnight the

 students were enrolled at MJI.

 D.     Defendants Enroll Mayanot Birthright Participants without the Participants’
        consent or Knowledge

        101.    Shemtov is also the Executive Director of Mayanot Institute of Jewish Studies

 (“Mayanot”), a prestigious organization in Israel that facilitates free “birthright” ten-day trips to

 Israel to over 380,000 Jewish youth around the world, and also operates many yeshivas and

 seminaries in Israel.

        102.    Several post birthright trip options exist. Mayanot has a Post-Birthright Study

 Program, which extends the ten-day birthright trip to a month-long stay in Israel. Another option

 is for individuals to extend their travel to Israel for a year to attend a yeshiva/seminary. Many of

 the yeshivas/seminaries that allow students to study at their institutions for a year fall under the

 Mayanot umbrella or part of the larger Chabad Lubavitch umbrella.

        103.    Mann’s recruiting team approached the yeshivas/seminaries affiliated with

 Mayanot and the Chabad and used the existing partnership between these yeshivas/seminaries

 and Shemtov and the Chabad to acquire names and demographic information for more students

 to enroll in MJI’s study abroad program in order to receive fraudulent Pell Grant funds.

        104.    Shemtov, as the Executive Director of Mayanot, abused his access to Mayanot’s

 database of names, addresses, Social Security Numbers, and other demographic information and

 Mann’s team used that information to falsify FAFSA applications.

 E.     Management Meetings




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        105.    At the time Moshe Klein (“Klein”) was MJI’s Chief Operations Officer, each

 department manager at MJI met individually with him on a weekly basis, followed by a

 management meeting with the full management team.

        106.    Each week, at the management meeting, there was a heated discussion because

 the recruiters had generated hundreds of students with submission IDs, but some employees

 believed it was improper to try and enroll so many new students mid-semester.

        107.    Rabbi Aaron Hurwitz and Rabbi Hillel Rudolph, representatives from yeshivas in

 Israel, informed Klein that some of the Israeli students enrolled in MJI’s study abroad program

 were not actually aware of their affiliation with MJI or taking MJI classes. After further

 investigation, Klein found out that, in fact, MJI was enrolling fictitious students and fraudulently

 receiving federal funds.

        108.    In November 2012, at a weekly management meeting, Klein announced that MJI

 had fraudulently obtained Pell Grants for several host schools in Israel.

        109.    After the meeting, Graham asked Relator to join her for a cigarette break. Graham

 disclosed to Relator that Mann was responsible for enrolling entire schools in Israel in a scheme

 to receive more Pell Grant funds.

        110.    Graham said that this was not the first time Mann had devised a scheme to receive

 Pell Grant funding. Instead, it was standard practice for MJI to fraudulently receive Pell Grant

 funding.

        111.    Klein announcements and Graham’s statements prompted Relator to investigate

 the matter herself.

        112.    Relator learned that in November 2012, more than halfway through the semester

 that started in September and would end in December, MJI had opened four new schools in


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 Israel with a total of 233 students. In a matter of hours, MJI processed and approved the

 enrollment form for each of the 233 student. MJI then applied for and received Pell Grants for

 these students.

 F.      December 2012 Meeting

         113.      On or about December 17, 2012, Relator met with Fran Herman (“Herman”),

 MJI’s Financial Aid Administrator, at Herman’s desk to say hello. While at Herman’s desk,

 Relator heard Herman say that “Pell” had stopped payments for MJI students whose records

 were missing or incomplete. It was Herman’s duty to investigate the issue and locate the missing

 student records.

         114.      Herman told Relator that Klein micromanaged the financial aid and finance

 department so much that it reduced productivity.

         115.      Herman showed Relator an Excel workbook for a freshman student who was

 receiving federal aid and was taking senior level classes without any supporting documents, like

 transcripts, to show that the prerequisites were met.

         116.      Herman told Relator that Klein had instructed Herman much earlier to “bill Pell”

 monthly for a capped amount so that no red flags would be raised.

         117.      Pell Grant funds are disbursed to educational institutions through third-party

 processors. MJI received its Pell Grant funds through a third-party processor named Gemcore.

 Per Klein’s instructions, Herman was to withdraw a specific amount of Pell Grant funds through

 Gemcore monthly.

         118.      Klein asked Relator to sit in on a meeting with Rebecca “Becky” Peters

 (“Peters”), MJI’s Director of Admissions and Financial Aid, on the morning of December 17,

 2012.


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        119.     During the December 17, 2012 meeting, Peters said that student records had been

 altered to facilitate the funding of classes taken by Pell Grant recipients. Peters added that Karen

 Henry (“Henry”), MJI’s former Registrar, and Stein regularly altered student records via

 Microsoft Excel workbooks to match what MJI was billing Pell for financial aid.

        120.     During the December 17, 2012 meeting, Peters said that after the mass

 enrollments through Long Jump, Henry and Stein would initially assigned students to any class

 regardless of pre-requisites or course level. Then, Peters and Herman would go back into Long

 Jump and change the classes in the students’ records to match the courses listed on the Pell Grant

 applications.

        121.     The December 17, 2012 meeting came about after MJI, via direction from Klein,

 revoked Relator’s and Peters’ access to make the changes to student records. The only persons

 with access were the registrar’s office. Peters was angry and demanded to have access again.

 Peters emphasized to the Relator that these changes needed to be made as soon as possible to

 prepare for the upcoming ACICS audit. Peters further explained that the financial aid staff and

 academic staff started this practice in 2007 and this practice only stopped recently. Peters

 mentioned that the changes needed to be made prior to the ACICS accreditation audit.

        122.     During the December 17, 2012 Peters added that if students’ records could not be

 changed, MJI would have to return federal funds. Peters said that ACICS encouraged these

 changes, did not want to know about them, and only cared if MJI had clean records.

        123.     After the December 17, 2012 meeting with Peters, Relator met with Klein in his

 office to discuss the seriousness of the situation at MJI. Klein informed Relator that he, Graham,

 and Kathy Humpert, MJI’s part-time special projects assistant, made a call to ACICS, with Klein

 in the office, to ask for clarification regarding changing student records and that ACICS


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 informed them that all changes required full documentation, dates, and signatures. Shemtov was

 angry at Klein for making the call to ACICS, because Shemtov worried that it would raise a red

 flag.

         124.      After Relator’s December 17, 2012 meeting with Peters, Relator realized that

 Shemtov had tasked Peters and Herman with changing Excel workbooks assigned to each

 student. Relator also saw notes in Long Jump as to the progress of Pell Grant applications and

 distribution of funds to “host schools.”

         125.      On or about December 21, 2012, Relator requested a meeting with Shemtov.

 During the meeting, Relator told Shemtov that the data she had reviewed to date showed that

 MJI was engaging in fraud.

         126.      During the December 21, 2012 meeting, which lasted over an hour, Shemtov tried

 to explain that everything was proper and legal. He said that anything Relator thought was fraud

 was probably a mistake and that MJI was working to fix these issues.

         127.      During the December 21, 2012 meeting, Shemtov further explained that Peters

 had reviewed all the documents and files and that MJI would return any unearned funding to the

 government.

         128.      During the December 21, 2012 meeting, Shemtov also explained to Relator that

 Klein would not be returning to MJI and asked that Relator block Klein’s access to all MJI

 accounts, including email and network access.

         129.      MJI never returned any money to the federal government.

 G.      Klein Leaves and Leeb Starts

         130.      Within ten days of Relator’s December 21, 2012 conversation with Shemtov,

 Klein left MJI.


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        131.    Relator learned that Klein had told MJI that he thought MJI’s practices were

 illegal. During a meeting with Relator regarding MJI’s billing practices, Klein stated that she

 might be onto something. But, somebody would have to pay for it [the illegal billing practices],

 but it would not be Shemtov.

        132.    Relator also learned that Klein had received a severance package with a

 confidentiality clause.

        133.    Before leaving MJI, Klein, or somebody using his account, had ordered the mass

 deletion of all MJI data on Long Jump.




        134.    On or about December 28, 2012, Fred Leeb (“Leeb”), MJI’s new Chief Operating

 Officer, came into the office.




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        135.    Leeb immediately avoided Relator and even cancelled their required weekly

 management meetings.

        136.    On or about January 3, 2013, Klein locked all MJI staff out of Long Jump. Relator

 worked with Long Jump staff to get all MJI data released and per Mann’s request she built a

 database in Salesforce, another online content records management system. Leeb revoked

 Relator’s to access Salesforce after she created the database.

 H.     Campus Academic Management System (“CAMS”) and Modification Requests

        137.    When MJI hired Relator to perform all IT managerial duties in October 2012, it

 was so that IT contractor Phil Klump (“Klump”) could concentrate on implementing a new

 Campus Academic Management System (“CAMS”), prior to the audit. However, Klump refused

 to allow Relator access to CAMS. This impaired Relator’s ability to complete the duties of her

 position. Klump reported directly to Shemtov.

        138.    In November 2012, Relator discovered that Klump was falsely submitting hours

 for payment for work that Relator had performed.

        139.    Relator brought this issue to Shemtov’s attention. However, Shemtov instructed

 Relator to pay Klump for the falsified hours he had submitted.

        140.    Relator further discovered that Klump had installed the $150,000 CAMS software

 on his own server, used the MJI credit card, and was billing MJI $275.00 per month per server,

 for his services. This practice increased Klump’s revenues, but also restricted anybody, including

 Relator, from accessing technical support from CAMS creator, Three Rivers. Klump had

 instructed Three Rivers not to provide any information to anyone at MJI except for himself.

        141.    In December 2012, Relator took the CAMS project off of Klump’s servers and

 had it reinstalled on a host site she could access.


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         142.    On or about December 21, 2012, with the Shemtov’s approval, Relator instructed

 Klump that she did not require his services anymore.

         143.    Shemtov then moved Klump to the Shul in West Bloomfield, where Klump was

 allowed to continue his practices of monitoring CAMS records remotely.

         144.    Although MJI had bought and paid for CAMS in early 2012, it ultimately never

 implemented it.

         145.    In the course of attempting to implement this system, Relator had various

 meetings with MJI management.

         146.    Relator learned that CAMS could not integrate with MJI’s systems because of

 MJI’s fraudulent activity.

         147.    MJI’s practice of illegally splitting Pell Grant funds with the study abroad “host

 schools” – that were in fact Israeli yeshivas and seminaries -- was one reason why MJI could not

 use CAMS as intended.

         148.    Further, the enrollment process in CAMS has a document tracking system that

 requires proof of identity, social security, high school or GED completion, and ACT and/or SAT

 scores. For a given student MJI was typically missing some or all of these records.

         149.    MJI had problems with class registration on CAMS because students who had

 been enrolled in “parallel” courses at Israeli “host schools” had to be recorded as taking MJI

 classes, not equivalent courses. That meant that after the semester had started, MJI had to

 translate documents from the yeshivas and seminaries and enter them into the CAMS system.

 Because translating the documents took so long, MJI was often withdrawing Pell funds late after

 the start of the semester.




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        150.    The CAMS system sets registration and add/drop periods for classes, triggers the

 financial aid process, and requires attendance records to allow the system to index the records.

        Previously, MJI had been tracking student records on Microsoft Excel workbooks and

 could not transfer the information from Excel into CAMS.

        151.    Herman and Peters explained to Relator that there was a 50/50 split of funds

 between MJI and the study abroad “host school” – which were actually the yeshivas and

 seminaries in Israel. When Relator told them that CAMS had no way to track the split because

 Pell Grants are not meant to be divided, Herman and Peters responded that there was no way to

 change MJI’s policy of forcing students to assign Pell Grant funds to MJI and host schools.

 I.     MJI’s Accreditations as a Distance Learning Institute

        152.    MJI is accredited as a distance learning institute, making it responsible for

 providing fifty percent of educational content while another educational institution provides the

 remaining fifty percent.

        153.    MJI study abroad students were enrolled in two online MJI courses and two

 courses at a yeshiva/seminary in Israel.

        154.    MJI did not provide fifty percent of the educational content for its study abroad

 students.

        155.    Rather than taking two MJI courses and two yeshiva/seminary courses, MJI’s

 study abroad students took four classes at yeshivas/seminaries. MJI recorded all four courses as

 actual MJI courses.

        156.    Each semester, Dov Stein, Director of Academics at MJI, was to designate which

 two courses MJI would offer online. However, he did not always do so.




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           157.   Often times the MJI staff in Israel would designate which two courses would be

 offered by MJI for a given semester.

           158.   Once MJI’s online courses were selected, the Israel staff would email Relator to

 create an online classroom on Sakai, MJI’s online learning platform.

           159.   Relator often created a course picked out by MJI’s Israel staff and enroll the

 students in the class, only to get an email from the MJI’s Israel staff asking Relator to change the

 course.

           160.   Once Yudi Mann signed a contract with a yeshiva/seminary in Israel, the

 yeshiva/seminary became an MJI recognized school.

           161.   MJI considered all host schools to be MJI campuses.

           162.   The contracts between MJI and yeshivas/seminaries were never shared nor

 published within MJI.

           163.   The yeshivas/seminaries were supposed to submit grades and syllabi to MJI for

 the classes MJI’s study abroad students took at the yeshiva/seminary and MJI was then supposed

 to translate those documents and compile enough content to satisfy an MJI course. In reality, MJI

 provided the syllabi and made up the grades.

           164.   MJI recorded the classes taken at the yeshivas/seminaries as MJI courses, not

 equivalent or transfer credits.

           165.   The yeshivas/seminaries in Israel did not allow computer use, including computer

 use to access Sakai classrooms, without heavy content filtering.

           166.   The students in Israel could not complete any classwork outside the

 yeshiva/seminary, as they are not permitted to use computers in their homes.




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        167.     MJI’s liaisons were to teach via online lectures, either pre-recorded or in real

 time, to the study abroad students in Israel.

        168.     Each liaison was responsible for the online content and instruction of multiple

 host schools.

        169.     For the Fall 2011 semester, the student master list included 3,387 students, split

 between four liaisons: Esther Heller, Rabbi Hillel Rudolph, Rabbi Aaron Hurwitz, and Tzippora

 Price. The courses taught by these liaisons were for MJI’s study abroad Judaic Studies

 Certificate Program.

        170.     The study abroad students took different classes at the yeshiva/seminary than the

 designated MJI course for the semester. Regardless of the courses the students were enrolled in

 at the yeshiva/seminary, MJI recorded the courses as MJI courses, even if the course content did

 not match.

        171.     MJI signed a contract with each yeshiva/seminary it enrolled in MJI’s study

 abroad program in an attempt to make the yeshiva/seminary part of MJI and therefore part of an

 American ACICS accredited institution.

        172.     The contract between MJI and the yeshivas/seminaries were never actually

 followed because the students took courses at the yeshiva/seminary that were different from the

 MJI online course they were enrolled in, which would have been reflected in the contract

 between MJI and the yeshiva/seminary.

        173.     MJI issued student ID numbers after the registrar had acquired the necessary

 paperwork for the student. The necessary paperwork includes proof of identity, proof of

 completion of high school or GED, and completed financial aid applications. Some of these




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 documents were held by the study abroad department in Leeb’s Michigan office, while the

 majority of these documents were kept in Israel.

        174.    MJI enrolled entire yeshivas/seminaries and processed the paperwork for all of

 those students at once. Sometimes, MJI attempted to enroll all of students and submit financial

 aid paperwork for them, but Peters had to scramble to fit them in MJI courses. When MJI ran

 into this problem, it looked to a solution that would make these students MJI students and so MJI

 created the MJI Online New Program. In practice, students were enrolled in the same class for

 several consecutive semesters.

        175.    The MJI Online New Program, which began in 2011, is separate from MJI’s

 certificate earning study abroad program. Klump explained this program to Relator as a “special

 project.”

        176.    To be part of MJI’s study abroad program and offer classes towards a certificate,

 a yeshiva/seminary needs to have a signed agreement with MJI that lists the courses the students

 are to take for a given semester. However, sometimes the yeshiva/seminary did not agree with

 MJI on the course content and as a result, the yeshivas/seminaries began teaching courses outside

 of the agreed upon contract. In these instances, MJI designated the students as MJI Online New

 Program, or MJI Online, and the students were no longer MJI study abroad students.

        177.    In addition to MJI’s study abroad program and it’s the MJI New Online Program,

 MJI had several students designated as directed study or correspondence students.

        178.    As correspondence students, these students had no syllabi or assignments, they

 were never assigned an instructor that they could check-in with, and they had no email

 communication with MJI. These students were enrolled in “special” 400-level courses. Relator

 recalls several first year students, or “freshman,” being enrolled in these courses.


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         179.      Shemtov asked Relator to prepare a separate, stand-alone macro for his sole use

 so that he would be able to identify these students. Relator did as she was told but has no

 knowledge of what Shemtov did with that information.

 J.      MJI Did Not Provide Course Content for Its Online Courses

         180.      In 2008, MJI adopted Sakai as its online learning platform, where MJI would be

 able to create an online learning classroom.

         181.      Sakai is an open source software and offers a complete list of tools for online

 instruction.

         182.      Each course is referred to as a worksite within Sakai, and should be maintained by

 the instructor.

         183.      Starting December 12, 2012, MJI began using Longsight for internet web site

 hosting of Sakai.

         184.      Before transferring Sakai to Longsight, Klump had the CAMS and Sakai servers

 in an undisclosed location. Klump refused to share the location of the servers with anyone at

 MJI.

         185.      A Sakai online classroom allows for instructors to upload videos and stream

 videos in real time, via Big Blue Button.

         186.      Big Blue Button enables instructors to deliver educational materials to the

 classroom of online students and create a virtual classroom.

         187.      Instead of offering many sections of the same course, which is the customary

 practice for educational institutions, MJI required Relator to create two copies of separate

 courses for each host school, one for male students and one for female students.




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         188.     Depending on the class size, MJI required Relator to create multiple Sakai classes

 for the same course for the same host school. Doing so would allow for a lower instructor-to-

 student ratio.

         189.     Stein, Mann, Klump, and Klein each told Relator that MJI had purchased a large

 number of computers for Israel because the students in Israel were Orthodox, were sheltered, and

 had no knowledge of technology.

         190.     Yeshivas/seminaries applied content filters to any internet capable device so the

 students could only view very limited content.

         191.     A Sakai online classroom is equipped with a tool named “resources.” Instructors

 uploaded links to documents they wanted their students to view under Sakai’s resources section.

 These resource links allowed students to access outside websites. Relator never received any

 requests to modify filters to allow students to access the external links. Because of the filters in

 place, the students were unable to access any external materials.

         192.     When MJI moved the physical location of the Sakai server to Longsight and

 installed a security certificate, all the filters needed to be modified to access the new URL.

 K.      MJI’s Bandwidth Usage

         193.     When MJI hosted Sakai, Big Blue Button, and CAMS on its own servers, before

 MJI began using third-parties to host these programs, MJI did not have enough bandwidth

 available to support instructors uploading anything to their Sakai online classrooms.

         194.     Sakai and Big Blue Button both require significant upstream and downstream

 bandwidth.

         195.     When MJI hosted Sakai, Big Blue Button, and CAMS on its own servers, MJI

 was using the bandwidth it had through the internet services it subscribed to through Comcast


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 Business. That bandwidth supported a maximum of sixteen megabits per second for downstream

 and even less for upstream.

        196.    Big Blue Button recommends at least one hundred megabits per second

 bandwidth for both upstream and downstream.

        197.    MJI’s limited bandwidth did not support large number of students MJI was

 enrolling in addition to MJI faculty and staff.

        198.    Given the bandwidth MJI had available, it was not possible for MJI to use Big

 Blue Button until January 2013, when Relator began using Longsight as the host site for Sakai

 and Big Blue Button.

        199.    Relator repeatedly asked Shemtov to allow her to move Sakai, Big Blue Button,

 and CAMS to third-party host sites. After a series of vehement objections, Shemtov agreed.

        200.    Relator moved the CAMS server to Hostway.

        201.     MJI used Three Rivers, creators and developers of CAMS, for technical support

 and project management for CAMS.

        202.    Big Blue Button offers several tools: record and playback, whiteboard,

 presentation, webcam, and desktop sharing are the tools that were available to MJI. All of the

 mentioned Big Blue Button tools require a live session between the students and instructors. The

 only tool that does not rely on students being present is the record and playback tool. The record

 and playback tool allows for instructors to record and upload lectures to their online classrooms

 so that students can later access them. However, MJI used this tool very rarely.

        203.    After the migration of these programs to third party host sites, MJI’s liaisons in

 Israel were to begin using Big Blue Button.




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        204.       However, even with tutorials and Relator’s extensive assistance, the liaisons did

 not use the Big Blue Button.

        205.       In order for an instructor to upload a live session or a pre-recorded video to Big

 Blue Button, an instructor has to send a meeting invitation, which the students would receive via

 their MJI student email accounts. Relator, too, would have received a copy of the invitation

 because she was the administrator for Sakai and Big Blue Button.

        206.       Relator received a notification for every course created, as requested by MJI’s

 Israel staff, and also received email notifications when an instructor added any content to the

 online courses.

        207.       Relator received a very limited number of notifications regarding course content

 creation for MJI’s study abroad classes.

        208.       In contrast, she received a large number of course content notifications for the

 courses offered to the sixty-three real students at MJI.

        209.       Relator has emails for items such as announcements being added to online

 courses, but only has no email notifications for live sessions and pre-recorded sessions being

 uploaded.

        210.       MJI’ study abroad staff in Israel did not use Big Blue Button.

        211.       Before Relator began working on Sakai in December 2012, MJI employed Phil

 Klump, Consultant from End User Technologies, to install the Sakai environment on the MJI

 computers in Michigan.

        212.       Klump was unable to set up Sakai properly.




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         213.    From 2008 through 2012, MJI was used Sakai in a very limited capacity, and

 therefore did not hold any online lecture and never uploaded any educational content to the

 online classrooms.

 L.      Lack of Educational Content in Sakai Online Classrooms

         214.    MJI did not provide the fifty percent of educational content that it was responsible

 for per its accreditations.

         215.    To set up a MJI online class via Sakai, MJI created roughly ten master classes

 with limited course content.

         216.    MJI’s staff in Israel would ask Relator to create additional courses by duplicating

 the master courses.

         217.    When MJI first began using Sakai, instructors emailed Relator to upload course

 content to Sakai classrooms.

         218.    MJI’s study abroad staff never submitted requests to upload any videos.

         219.    The only requests from instructors to upload videos came from Rhonda Gilbert,

 MJI’s dual enrollment manager. Dual enrollment is a partnership between MJI and regional high

 schools in the United States that started in 2010 and allows high school students to take courses

 at the Shul for high school credit.

         220.    Relator received queries from the Israel staff at all hours of the day.

 Consequently, Relator announced that course instructors were responsible for uploading their

 own course content to their Sakai classrooms and distributed detailed instructions for instructors

 to be able to upload their own videos and other course content.

         221.    Thereafter, instructors then began contacting Longsight with requests to upload

 their content to the Sakai online classrooms. As a result, Longsight reached out to Relator, the


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 administrator on the account, asking her to put an end to the requests from MJI instructors. After

 sending this email, Relator did not see many instructors upload course content. In fact, MJI’s

 study abroad program in Israel did not use Big Blue Button and did not upload any videos,

 whether in real time or prerecorded.

        222.       Out of thousands of email notifications, the only course for which Relator

 received invitations for online sessions, whether pre-recorded or in real time, was for a welcome

 session to EDU 131 OL3 Winter 2013. This course was taught by Alissa Rothstein and was

 offered to MJI real sixty three students. EDU 131 had a “Welcome to EDU 131” session during

 week nine of the course.

        223.       Relator never received a notification for a prerecorded video or an online lecture

 in real time for MJI’s study abroad courses. The only notifications Relator received for MJI’s

 study abroad courses were for the creation of the course, and sporadic announcements and

 resource links.

        224.       MJI added courses and students until the very end of each semester and did not

 adhere to an add/drop period.

        225.       On or about April 22, 2013, MJI added HIS 261 as a course for its winter 2013

 semester that started in January and ended in May.

        226.       MJI distributed its 2013-2014 Faculty Orientation Handout to its faculty,

 outlining its expectations of faculty and instructors. Per its Faculty Orientation Handout, MJI

 required that all communications between MJI faulty, students, and staff take place using a MJI

 email address, and that they communicate regularly.

        227.       MJI faculty did not contact students via MJI email addresses. See Ex. 22, Email

 Accounts Created Versus Accounts Accessed. Additionally, MJI required:


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        228.    Per MJI’s 2013-2014 Faculty Orientation Handout, MJI required its instructors to

 make available for their students and MJI’s administrative offices, a complete set of all course

 handouts, including but not limited to syllabi, readings, or any additional information the

 instructors wished to distribute to students.

        229.    MJI faculty did not have syllabi for the Sakai courses until close to the end of the

 semester or sometimes after the semester was over.

        230.    On or about April 15, 2013, Relator received a Sakai notification that changes had

 been made to the syllabus content for CIS 122 OL1 for the winter 2013 semester, even though

 the semester had begun in January and was set to end in May.

        231.    After the end of each semester, MJI translated the syllabi from the courses the

 students studied at their yeshivas/seminaries to create its own course syllabi.

        232.    A large project in preparation for the ACICS audit was to create syllabi for each

 course MJI listed in its catalogue.

        233.    After the audit, at the direction of Shemtov, Warren Frankford shredded the

 syllabi created in preparation for the ACICS audit.

        234.    Per MJI’s 2013-2014 Faculty Orientation Handout, MJI required that instructors

 log attendance, adhere to the add/drop period limited to the first week of courses, administer

 course evaluations, hold mid-semester reviews and end-of-year faculty reviews. MJI did not

 enforce any of the requirements it set out in its Handout.

 M.     ACICS Audit

        212.    In a letter dated January 7, 2013, ACICS informed MJI that it would perform a

 Scheduled Site Visit on February 19-21, 2013.




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         213.    In preparation for the audit, Shemtov and Leeb asked Relator to write a macro

 that would scan the Microsoft Excel workbook MJI kept for each student to find errors or

 missing information. Relator wrote the macro and scanned all the files as directed. She found

 thousands of errors and missing fields in the student Excel files. Relator reported these findings

 to Shemtov and Leeb.

         214.    By the end of January 2013, MJI was seeking to diminish Relator’s role at MJI

 because she knew too much.

         215.    MJI hired Bruce Fidler and James Jemison as help desk technicians. Although

 Fidler and Jemison were supposed to report to Relator, Leeb required all communications go

 through him instead of directly to Relator.

         216.    During the second week of January 2013, Relator met with Shemtov. During the

 meeting, Shemtov informed Relator that she would not have access to data and that she would

 have to make specific requests for access going forward. This restriction seriously impaired

 Relator’s ability to perform her job duties.

         217.    From February 19 to 21, 2013, the ACICS conducted an audit of MJI’s files over

 the past six years.

         218.    In an effort to pass the ACICS accreditation audit, MJI staged a fake class with

 fake students as a show for ACICS. MJI paid employees and members of the community to sit

 and listen to a lecture. None of the attendees were actual students. Fred Leeb, Adam Leeb’s son,

 was the instructor for the fake computer class being taught for the audit. Bruce Fidler of MJI’s IT

 Department also taught a fake class that was set up for the audit. Two MJI employees had signed

 up for these fake classes thinking they would get college credit. MJI created this fake class

 because it did not have any students ever attending at their Michigan location.


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          219.     Relator has raw data with timestamps that reveal that MJI was making mass

 changes and corrections to student records up until the last day of the audit. Roughly 940 student

 records were part of a mass update that took place on December 30, 2012 between 13:30 and

 14:30.

          220.     Within weeks after the audit, Shemtov directed Leeb who, in turn, directed

 Warren Frankford (“Frankford”) to shred all the fraudulent student files that MJI had created

 solely for the purpose of fooling the ACICS auditors. When Relator saw Frankford shredding

 documents, she asked why he was doing so. Frankford responded that the audit was over and that

 the records were no longer needed.

          221.     Despite MJI’s efforts, the audit did not go well. ACICS’s audit report informed

 MJI that the audit was going to a review committee because of various deficiencies, including

 poor student records.

 N.       Lack of Student Activity on Sakai

          222.     In preparation for the ACICS audit, Relator had to go through every Sakai online

 classroom to document student activity to create library usage, a requirement for ACICS

 accreditations.

          223.     Relator prepared a report for every Sakai online class to document how many

 times each link within the classroom had been clicked on.

          224.     Relator employed two temporary employees, LaChante’ Ambers-Turner and Star

 Kinloch, to help her with the task of going through roughly one thousand courses.

          225.     While reviewing the courses, Relator saw some resource links. The resource links

 were links to the Torah and or passages from the Torah that the students had to read.




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         226.    In reviewing the Sakai online courses, Relator saw several resource links via

 Koha, library software used by most libraries to interlink libraries, which directed students to

 religious studies articles.

         227.    When reviewing the Sakai online courses, Relator saw some assignments, tests,

 and quizzes, most of which were incomplete.

         228.    Roughly ten percent of the click count from every course belonged to

 assignments, tests, and quizzes. The ten percent includes instructor activity.

         229.    Sakai’s click count reports are unable to count clicks by distinguishing between

 unique users or date of access. Instead, the clicks are captured when someone, whether instructor

 or student, logs in and clicks on a link.

         230.    MJI did not have any videos uploaded to any of it Sakai online courses.

         231.    Each online course was to have a discussion board, where students and instructors

 could have an interactive learning experience and participate in discussions on topics selected by

 instructors.

         232.    MJI’s online courses had intermittent discussion on the discussion board on Sakai.

         233.     In or about early fall 2012, the resource links in Sakai were not functioning and

 all the MJI staff in Israel and Michigan repeatedly clicked on the links to see if they worked.

 These clicks, too, counted as the Sakai activity that Relator was able to capture in her click

 reports, which inflated the results of the report.

         234.    In a class of 50 students, it is expected to see a minimum of 50 clicks and that was

 not the case.

         235.    Relator’s reports captured nine or ten clicks for most classes and some classes

 reported no clicks.


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        236.    For an instructor to stream a live video to the Sakai online classroom, the

 instructor would have had to send out a Big Blue Button invitation, including a link or phone

 number for students to access the video. Invitations would have been sent to student MJI email

 accounts.

        237.    The purpose for the live video feeds is to create an interactive learning

 environment online that would be similar to an interactive in-person experience.

        238.    As the administrator of Sakai, Relator would have received a copy of the

 invitation as well.

        239.    Of the 4,684 MJI.edu student email accounts created, only 1,276 were ever

 accessed. MJI had to communicate with its students using the students’ MJI.edu student

 accounts. More than half of MJI’s study abroad students never received any invitations for Sakai

 videos because they never activated their student email accounts, even if the instructors uploaded

 any videos.

        240.    Additionally, instructors did not use Sakai’s gradebook component to track

 students’ grades. Instead, they recorded a final grade for the students in the Excel spreadsheets

 MJI used to track its students.

        241.    Relator incorporated a course survey, an ACICS requirement, into Sakai and set it

 up so that a student would have to take the survey before the final exam would be released to

 them. Stein grew furious and yelled at Relator to remove the survey. Stein told Relator that she

 had no place in deciding how course surveys should be handled.

        242.     MJI’s study abroad students did not receive any educational content via Sakai.




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        243.    MJI’s study abroad students did not have consistent interaction via Sakai as

 evidenced by the difference in the Sakai online classes for the study abroad students and the

 sixty-three real MJI students who are handled through the MJI registrar’s office.

        244.    The courses in which the real sixty-three students were enrolled included

 business, accounting, computers, education, and mathematics courses. These courses had regular

 assignments, tests, quizzes, discussions, as well as pre-recorded and live videos.

        245.    As the administrator of Sakai, every time an instructor uploaded materials to his

 or her Sakai classroom, Sakai sent an automated email to Relator.

 O.     MJI Did Not Provide Fifty Percent of Its Students’ Educational Content As
        Mandated by Its ACICS Accreditations

        246.     As an accredited distance learning institution, MJI had to provide fifty percent of

 the educational content to its study abroad students.

        247.    MJI did not provide fifty percent of the education content to its study abroad

 students. MJI did not provide any educational content to its study abroad students via Sakai or

 any other platform despite claiming to offer two online courses each semester.

        248.    MJI’s study abroad registrar’s office in Michigan picked through the subject

 matter taught in Israel week by week, or at the end of each semester, to put together enough

 content material to qualify that the students took the designated MJI class.

        249.    MJI hired translators to translate the course syllabi from the students’

 yeshiva/seminary course and match the course with an MJI course.

        250.    Sometimes when after the end of the semester, based on the content that the

 Registrar’s office saw in the syllabus of the host school, MJI changed the MJI online course the

 student was enrolled in so that the content the students were taught at the host school would



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 match the syllabus that MJI had developed for its courses. Sometimes, MJI changed its syllabus

 altogether, to match the syllabus of the course at the host school.

        251.    During an MJI management meeting on April 18, 2013, Mann said that a study

 abroad student could receive a MJI certificate without ever taking a MJI course.

 P.     MJI Defrauded ACICS Auditors

        252.    MJI defrauded ACICS auditors by claiming that it held in-person classes in

 Michigan.

        253.    When the auditors arrived at MJI in February 2013, Shemtov and Stein informed

 them that MJI classes were taught in classrooms at the Shul during the day and at the yeshiva in

 Oak Park, Michigan until midnight.

        254.    Anticipating that the ACICS auditors would ask to see classes that were taught in

 person, Shemtov staged a fake MJI computer class for the auditors.

        255.    MJI paid employees to sit in on the MJI computer class lecture and pretend to be

 students.

        256.    The fake course was taught by Bruce Fidler, an assistant in MJI’s IT Department.

        257.    No real students attended the fake computer course taught by Fidler.

        258.    MJI created this fake computer course because no real students ever attended

 MJI’s Michigan location.

 Q.     CAMS Implementation

        259.    When MJI completed the purchase of the CAMS software from Three Rivers in

 August 2012, it did not cooperate with Three Rivers and so MJI was not able to begin the

 process of implementation until December 21, 2012, when Relator was put in charge of the

 project.


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        260.    When making the purchase, MJI told Three Rivers that it only needed CAMS for

 roughly seventy students.

        261.    It was not until the project management team arrived at MJI to develop a timeline

 for the implementation of CAMS that MJI revealed that it planned to use CAMS for its study

 abroad students, a total of roughly five thousand students.

        262.    Before Relator was tasked with implementing CAMS, Phil Klump worked on the

 project.

        263.    In March 2013, Sandra Lafata, the Three Rivers Project Manager assigned to MJI,

 flew to Michigan to set up a three-day training session where Esther Hirschberg, Judy Lane,

 Amy Herskovitz, and Lisa Gallerini of the study abroad registrar’s office and Alicia James,

 Ricca Escamilla, Dianne Bernard of MJI’s main registrar’s office were to bring hard student files

 and enter all of the data for the 2012-2013 academic year because the Excel spreadsheets MJI

 used to track its students were not convertible.

        264.    However, this data entry never took place.

        265.    The March 2013 CAMS training session was the second session designated for

 CAMS training with the Project Manager, with the first being conducted in December 2012 by

 Phil Klump.

        266.    Initially, MJI hired End User Technology, of which Klump is a co-owner along

 with his brother, in January 2010 for thirty days. Klump billed MJI an average of sixty hours a

 week at the rate of $50.00 per hour. He had full use of the MJI credit card, which he used to

 purchase hardware, software and other IT related items that were never shipped to MJI. Instead,

 he set these items to install the new CAMS servers (SQL and IIS) as well as Sakai in an

 undisclosed location, with him being the only person to access the servers administratively.


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          267.   He then charged $275.00 per month, per server (a total of $1100.00) in addition to

 his hourly rate for the use and maintenance of the equipment he purchased with MJI funds.

          268.   In 2012, Klump charged MJI roughly $220,000.00 to MJI for IT related expenses.

          269.   When Fred Leeb took over the CEO position, he approached Relator to explain

 Klump’s IT related expenses.

          270.   Prior to Leeb approaching Relator, Relator had made numerous requests to Klein,

 CEO until December 21, 2012, Eliot Globerson, MJI’s Finance Manager, and Rebecca Peters for

 details of IT expenses for the 2012 fiscal year. However, Relator never received a response to her

 requests.

          271.   Relator also refused to authorize the hours submitted by Klump for payment

 because after reviewing the hours Relator discovered that the hours falsified because he was

 billings for work that Relator had performed. However, Shemtov told Relator that she must be

 mistaken while Klein was convinced but Klein’s hands were tied, as Shemtov’s word was always

 final.

          272.   By December 21, 2012, Klump had not produced any work in implementing the

 CAMS software purchased by MJI in August 2012.

          273.   The CAMS training session Klump conducted in December 2012 was nothing

 more than a three-day PowerPoint presentation, showing the functions in CAMS. Klump was the

 sole point of contact to the CAMS Manager. He refused to allow the Three Rivers project team

 to speak with anyone at MJI other than him.

          274.   At a meeting with Shemtov on or about December 21, 2012, Relator raised the

 topics of Klump’s elaborate expenses and Klump’s role as the sole point of contact for Three

 Rivers were discussed.


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        275.    In a managers meeting on or about December 16, 2012, Klein mentioned that MJI

 had been receiving fraudulent Pell Grant funds.

        276.    After the meeting on or about December 16, 2012, Klein had a private

 conversation with Relator, where he explained that MJI had received millions of dollars in

 fraudulent Pell Grant funds for study abroad students and that Becky Peters had been altering

 student GMS files for years to justify the funds. Klein asked Relator if she thought Klump was

 aware of this information and was using it to blackmail Shemtov. Klein also stated that

 eventually MJI will get caught for its actions and Shemtov will blame someone else.

        277.     Shemtov instructed Relator to do with Klump as she thought best. However,

 Shemtov expressed that terminating Klump would be a waste of resources since he had worked

 at MJI for two years and had valuable information.

        278.    As for Klein and his allegations of Pell Grant fraud on behalf of MJI, Shemtov

 told Relator that there had been some accusations within the Jewish press that circulated in the

 local Jewish communities and that Klein was not correct in his statement. He further explained

 that MJI followed all applicable rules regarding Pell Grants and that Klein was no longer MJI’s

 CEO.

        279.    Shemtov also instructed Relator to shut down any access that Klein may have had

 to the MJI data.

        280.    It was not until January 2, 2013 that it became apparent the Klein, while CEO at

 MJI, had set up the Long jump database in his name, effectively locking anyone else at MJI out

 of using the web application, and taking all the data within the database.

        281.    Relator was able to retrieve a data dump from the Long jump office, as the data

 was protected by Family Educational Rights and Privacy Act (FERPA).


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        282.    Klein paid the Long Jump monthly maintenance fee with the MJI credit card, but

 had signed the contract with Long Jump using his company title, Moshe Klein & Associates,

 thus preventing Relator from gaining the customized reports and objects created over the

 previous four years.

        283.    Relator made efforts to communicate with CAMS immediately upon accepting

 her position as MJI’s IT Manager.

        284.    Three Rivers informed Relator that it had received instructions from Klump that it

 was not to discuss the project with Relator.

        285.    In late October 2012, Relator received a call from Stacy Roswold, Supervisor of

 the Project Managers at Three Rivers, about the lack of progress and cooperation at MJI.

        286.    The data that Relator had sent Three Rivers for examination to determine

 conversion strategies yielded that it would not be possible to convert the data.

        287.    Relator and Roswold further discussed that MJI’s best course of action would be

 to manually enter all of the existing data, beginning with the Fall 2012 students and working

 backwards to implement. This the only way to get the student data correctly input.

        288.    Roswold promised full support and assistance to MJI in getting this done

 immediately.

        289.    Relator informed both Klein and Shemtov of the phone call and Roswold’s

 recommendation.

        290.    Klein was in full agreement with Roswold’s recommendation.

        291.    However, Shemtov believed that Klump should continue to manage the project

 and attempt to convert the data himself.




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           292.   Shemtov allowed Relator to have regular communications with the Project

 Manager assigned to the MJI implementation, Sandra Lafata.

           293.   Also, Shemtov required Klump to provide Relator weekly status reports regarding

 CAMS, to include Relator in all conference calls with the CAMS team, and to copy Relator on

 all email communications with Three Rivers. However, Klump never did as Shemtov instructed

 him and Relator’s efforts to discuss Klump’s noncompliance with Shemtov’s instructions were

 futile.

 R.        CAMS and Customization Requests

           294.   Throughout the CAMS implementation process, Mann and Yaacov Epstein

 repeatedly requested that Relator, as the administrator of CAMS, modify certain fields on

 CAMS.

           295.   Mann and Epstein wanted all recruiters in Israel to be given full administrative

 access to CAMS’s financial aid module, registrar module, and student module. Mann and

 Epstein claimed that such changes were necessary because they would allow the recruiters to

 handle all student paperwork.

           296.   However, as a common business practice, recruiters are never granted access to

 students’ financial records.

           297.   Mann and Epstein requested that Relator remove certain document verification

 requirements on CAMS.

           298.   When a recruiter in Israel enrolls students as MJI study abroad students, the

 recruiter then completes all paperwork for the student (MJI enrollment form and financial aid

 documents). The recruiter also enters student information into CAMS.

           299.   CAMS has four stages for a student: prospect, applicant, accepted, and admitted.


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         300.   At the prospect stage, CAMS requires student biographical information.

         301.   At the applicant stage, CAMS requires document verification which is satisfied by

 attaching the document requested. CAMS has a field for the student’s Social Security Number.

 The document verification requirement is to attach a copy of the student’s Social Security card to

 the field.

         302.   Once all the required verifications are met, the student becomes an accepted

 student.

         303.   Mann and Epstein requested that Relator make certain modifications in CAMS.

 Initially, the requests were for changes to the initial CAMS student application. They wanted to

 add in fields for foreign ID number, I-20 student visa information, host school name, host school

 location, and name of admission counselor.

         304.   Mann and Epstein also wanted the CAMS application to be set up so that when a

 student signed the application electronically by simply typing in his or her name, the signature

 would be legally binding.

         305.   Complying with Maan’s and Epstein’s requests would mean that a student would

 either be a prospect or admitted, removing the applicant and accepted stages.

         306.   Removing the document verification requirements would allow for Mann and his

 recruiters to enroll a student in MJI’s study abroad program without ensuring that MJI had the

 required documents for the student, such as transcript, Social Security number, proof of high

 school graduation, etc.

         307.   Additionally, Mann wanted to be able to run certain reports on CAMS to find out

 which recruiter had signed up which yeshivas/seminaries and how many students were in each.




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        308.     Epstein and Mann directed these requests at Relator because she was the only

 person with administrative access to CAMS who had a background in computers and was

 knowledgeable enough to make the edits.

        309.     Administrative access to CAMS was determined by a user’s role in the

 organization as well as the individual’s actual duties.

        310.     Mann and Epstein insisted that because they managed the study abroad program,

 they should have full administrative access to CAMS. This type of access would permit for the

 deletion of student records, modification of the data throughout the CAMS application, as well as

 manipulation of the reporting within CAMS.

        311.     Mann and Epstein raised their request with Leeb prior to the three-day March

 2013 CAMS training. Leeb called Three Rivers and arranged for Mann and Epstein to have full

 administrative access to CAMS.

        312.     When Relator found out that Mann and Epstein had been granted full

 administrative access, she removed their administrative status, explaining that their role and

 function did not require such extensive access. Relator explained that as the IT Manager, her

 experience qualified her to be the sole administrator and the best person to determine

 permissions, access, and security within the CAMS or any database for the entire MJI

 organization.

        313.     Until late February 2012, when Leeb requested that Three Rivers give full

 administrated access to Epstein and Mann, Relator only gave them read/write access to CAMS

 so that they could input information pertinent to their departments but were unable to make any

 changes to CAMS.




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            314.   Once students were enrolled in MJI’s study abroad program through CAMS,

 CAMS triggered an add/drop period and registration deadlines. CAMS required “term” dates to

 be in place, automatically shutting off the ability to register a student after the designated time.

            315.   Once MJI found out about these triggers and restrictions, it no longer wanted to

 use CAMS because MJI regularly enrolled entire schools, regardless of when the semester had

 started.

            316.   MJI came up with the idea of creating four block courses. Each semester, MJI set

 up four block courses in CAMS. A clock course is a blank course. MJI had two block courses for

 the two MJI courses the students were to take each semester and the additional two block courses

 were used to separate the female and male students. MJI kept these block courses blank until the

 end of every semester, when MJI’s translators translated the syllabi and course content of the

 courses the students took at the yeshivas/seminaries and MJI then created course content for the

 CAMS courses after the students had already completed the course.

            317.   Additionally, MJI regularly used multiple start dates for each semester. For the

 Fall 2012 semester, Stein added start dates into late November so that the term had five start

 dates but all finished at the same time in December. As a result, the fall term overlapped with the

 Winter 2013 term, traditionally January – May. Lafata told Relator that she had never seen a

 school function the way MJI did.

            318.   After Relator’s constructive discharge on April 28, 2013, MJI eventually

 terminated its contract with Three Rivers and stopped all communications with the Three Rivers

 Project Manager, Lafata.




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        319.    After MJI ended its contract with Three Rivers, MJI employed TJ Davis, an

 independent contractor who reports directly to Mann, to log into MJI’s CAMS account as an

 administrator and make all the changes that Mann and Epstein asked Relator to do.

 S.     CAMS March 2013 Training Session

        320.    Lafata flew to Michigan to conduct the training session in March 2013.

        321.    Lafata and Relator had prepared a training schedule for the training and MJI

 management had approved it prior to the training session. However, at Leeb’s request, Lyne

 Graham completely changed the previously agreed upon training schedule.

        322.    Epstein traveled from Israel to Michigan to personally attend the training sessions,

 without prior coordination or notice of his trip.

        323.    The three days of training were recorded via WebEx and MJI’s Israel staff dialed

 in to the sessions and interacted with the sessions.

        324.    Leeb assigned James Jemison as the administrator user on MJI’s WebEx account

 to record these sessions, effectively blocking Relator from obtaining the copies of the sessions.

        325.    Rebecca Peters also attended theses training sessions via WebEx as she was

 recovering from hip surgery.

        326.    Additionally, laptops had been setup at MJI for hands on use of the CAMS

 application and input of student data.

        327.    During the training, Mann and Epstein monopolized the training time with

 personal training requests, administrative access requests, and reporting requests focusing on

 each recruiter, each host school by recruiter, and ways to determine what paperwork had been

 completed by the recruiter per student.




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        328.    During the three-day session, several times a day, Peters, Mann, Herman, and

 James requested that the recording be paused and the discussions continue “off the record.” Off

 the record, they discussed financial aid issues and how to package student financial aid

 documents for Pell Grant applications.

        329.    MJI had difficulties with processing financial aid documents because the tuition

 for the yeshivas/seminaries varied. Peters, Mann, Herman, and James also wanted to find out

 how to bypass CAMS and Department of Education requirements, and how to register a student

 for a block of four classes without designating those classes until after the end of the semester.

        330.    During the training, not only did the study abroad registrar’s office attend, but the

 staff from MJI’s main registrar’s office as well.

        331.    The main registrar’s office consisted of four individuals: Alicia James, Ricca

 Escamilla, Dianne Bernard, and Inger Morrison.

        332.    The study abroad registrar’s office is responsible for obtaining attendance records,

 grades, SAP and determining the content taught at the yeshiva/seminary that could be used to

 satisfy the requirements of an MJI class and then assigning a grade.

        333.    The study abroad registrar then submits this information for financial aid purposes

 and also submits this information to the real registrar. MJI began submitting this information to

 the real registrar to create the illusion that MJI had real students and a legitimate study abroad

 program because James was starting to question the legitimacy of MJI’s practices.

        334.    During the training session, Mann and Epstein requested that the personnel at the

 yeshivas/seminaries be given access to CAMS as well, so they could input data on their own

 instead of sending the information to Mann’s staff, who would then forward the information to

 MJI’s Michigan office.


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           335.   However, Lafata and Relator refused to grant yeshiva/seminary instructors and

 personnel access to CAMS for several reasons. First, the content from the yeshiva/seminary was

 in Hebrew and CAMS was in English. Second, none of yeshiva/seminary instructors and

 personnel were employed by MJI, nor would MJI be able to hold them accountable.

 Additionally, the yeshiva/seminary faculty never provided MJI teaching credentials, proof of

 education, or professional development.

           336.   Mann and his study abroad team in Israel were responsible for the GMS (Grade

 Management System), an excel workbook, of each student.

           337.   The student GMS files were accessed by individuals not associated with the

 registrar’s office.

           338.   MJI used a Google Drive to store and share the GMS files and therefore MJI’s

 Israel staff was able to access the GMS files and edit the information in them.

           339.   Most changes being made to GMS files came from the financial aid office,

 specifically Rebecca Peters and Fran Herman, and Mann’s staff in the Study Abroad registrar’s

 office.

           340.   During the training session with the combined staff, Lafata asked why there were

 two registrar departments instead of one. While the registrar only handled the registration of

 sixty-three actual students, the study abroad department handled over 3000 applications.

           341.   Lafata explained that for efficiency the departments should be a single unit.

 However, Mann’s study abroad registrar clearly indicated that their department handled enough

 and would not take on the additional sixty-three students.

           342.   Esther Hirschberg and Judy Lane, registrars for MJI’s study abroad program,

 were quite concerned that students’ status could not be changed by them, and that certain


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 documents had to be verified and attached to the student record before this update would be

 successfully completed.

        343.     Hirschberg and Lane stated that it sometimes took months to get the documents

 from Israel and that the students would be gone if they could not be registered immediately for

 MJI to obtain documents. They believed that by using the CAMS system, MJI would lose

 thousands of students and the money associated with those student enrollments.

        344.     After the study abroad team left the CAMS training, Alicia James and Ricca

 Escamilla, MJI’s registrars for MJI’s real students, remained for further clarification of the way

 the system triggered basic events based on the completion of requirements setup in the system.

        345.     James was adamant that it would be impossible to use the CAMS registration

 module as it was because of requirements that a class be listed, an instructor assigned, and a date

 and time set, as well as a meeting room specified in the Master Course offerings.

        346.     From the Master Course offering, classes available for registration during a given

 semester were determined. Prerequisites and co-requisites were also assigned to the course in

 the master offerings. CAMS did not allow students to register for a class if those requirements

 were not met.

        347.     However, MJI students were enrolled in courses without satisfying prerequisite

 requirements or required special permission from instructors before signing up for upper level

 courses.

        348.     Using CAMS also limited and locked a course as an MJI course rather than an

 equivalent course from the yeshiva/seminary or a transferred course. Other restrictions included

 add/drop periods, term dates and attendance.




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        349.    James explained that terms were added continually as the study abroad staff in

 Israel secured new yeshivas/seminaries to become an MJI host school. James also expressed that

 that her department had to regularly wait until the end of the semester or even the end of the year

 before they could obtain documentation from the yeshiva/seminary, translate the documents, and

 then determine what content could be used to satisfy the completion of an MJI course.

        350.    The courses the students completed at the yeshivas/seminaries were listed as MJI

 courses, not equivalent courses or nor transferred credits.

        351.    MJI’s solution around the issue of waiting to receive course documents from the

 yeshiva/seminary was to create a block of blank courses, the equivalent of four credit hours per

 semester, which would allow the registrar’s office to insert an MJI course after the close of the

 term. The block of four credit hours was also essential to trigger the financial aid module within

 the system.

        352.    The use of the CAMS system restricted MJI so it could only operate exactly as the

 Department of Education allowed.

        353.    MJI used its own verification work sheets, institutional student information

 records (ISIRs), and professional judgment.

        354.    Based on MJI’s Campus Accountability Report (CAR), ninety-eight percent of

 students enrolled received Pell Grants. Peters keeps MJI’s CAR on her computer.

        355.    The CAMS system could also automatically produce CARs and Integrated Post-

 Secondary Education Data System (IPEDs), a tool used to collect consumer information. CAMS

 could also interface with the QuickBooks accounting system. However, CAMS could only issue

 funds to the student who was the recipient of Pell Grant funds and not the host school.




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        356.    Both Peters and Herman stated that the agreement MJI had with the

 yeshivas/seminaries in Israel required that Pell Grant funds be dispersed to them within six

 weeks of receiving a student’s grade or other document indicating completion of studies.

        357.    At the CAMS training session there was discussion that the staff at the

 yeshiva/seminary be given access to CAMS and also facilitate grading.

        358.    The yeshiva/seminary instructors did not take attendance as it was not a

 requirement of the students attending the yeshiva/seminary. However, proof of attendance is a

 requirement for Pell Grant recipients, ACICS and the Department of Education.

 T.     Student Dropped and Make-Up Courses

        359.    Judy Lane sent Relator daily requests to drop students after the designated drop

 period (within three weeks from the beginning of the classes as specified by the Department of

 Education) for the semester had passed. When requesting to “drop students,” Lane expected that

 the student would be completely deleted from all systems, erasing the very existence of any

 interaction with them. These requests often came at the end of each semester and amounted to

 hundreds of students.

        360.    After the ACICS audit in February 2013, Stein and MJI’s liaisons in Israel

 requested that Relator create over 130 make-up courses for the Fall 2012 and Winter 2013

 semesters.

        361.    The ACICS auditors were not satisfied with the Sakai online classroom content

 that they viewed and asked that MJI set up makeup courses to satisfy the classroom to homework

 ratio and also make up for the lack of attendance and the limited amount of content in each Sakai

 classroom.




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        362.    Relator received over one hundred requests to create Sakai online classrooms for

 makeup courses.

        363.    However, MJI never held makeup classes because the yeshivas/seminaries were

 closed in the summer and the makeup semesters could not overlap with the existing fall or winter

 semesters.

        364.    MJI’s accreditations expired on December 31, 2013. The ACICS gave MJI until

 April 30, 2014 to come into compliance with ACICS requirements so that its accreditations

 would be renewed.

 U.     Relator Complains and is Interrogated

        365.    In January 2013, Relator filed a formal complaint with HR about not being able to

 perform her duties because Shemtov had blocked her access to data vital to her job performance.

 She also complained about the sudden lack of cooperation and respect at MJI flowing her return

 from the end of year holidays.

        366.    MJI ignored Relator’s complaint and Leeb only inquired if Relator would be

 suing MJI.

        367.    One month after filing her formal complaint with HR, Relator asked for a follow

 up meeting as Shemtov continued to deny her requests to access MJI’s data. MJI took no action.

        368.    In March 2013, Leeb instructed Relator to meet with MJI’s outside counsel at a

 Marriott in a business suite. Relator complied. In the suite, Charles P. Elliott and Peter S. Leyton

 proceeded to question her for over an hour. They also made Relator sign a confidentiality

 agreement, but she was not given a copy.

        369.    The role of the lawyers in the hotel room was purely investigatory. They did not

 provide Relator any advice.


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           370.   The lawyers questioned Relator about several of MJI’s fraudulent practices. They

 also questioned Relator about Klein.

           371.   The next week, MJI hired Trish Leonard, a specialist in Department of Education

 Audits.

 V.        Student Achievement Progress Reports

           372.   During the audit, ACICS identified major problems in MJI’s Student

 Achievement Progress Reports – essentially student report cards. The reports lacked formal

 attendance, and grades were not being entered until six to eight months after the stated

 completion of the course. MJI should have been entering grades upon the completion of the

 course and sending the progress reports to students. Accordingly, in April 2013, Relator and

 others were working on back-filling deficient reports with the required information and sending

 them to students.

           373.   Title IV of HEA programs require that students meet certain GPA, attendance,

 and other requirements to continue receiving Pell Grant funds.

           374.   Relator sent the delayed reports to 1,900 students. She created a mail merge based

 on information that the registrar provided. Relator printed the addresses directly on the

 envelopes.

           375.   About 1,500 of the reports were returned due to unknown, invalid, or incomplete

 addresses. Relator’s assistant Shamika Lipsey, informed Relator of the mass return of the letters

 and was concerned that Lipsey had processed the envelopes incorrectly. Relator double-checked

 the mail merge and discovered that Lipsey had not made a mistake, the student information

 database was just riddled with errors and incomplete fields.




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           376.   MJI would create an MJI.edu email address for each new student. When Relator

 followed up on the returned progress reports, she discovered that the MJI.edu email addresses

 assigned to students were never even accessed or activated.

 W.         Relator Investigates

           377.   Relator then attempted to call some of the students whose reports were returned.

 Most numbers did not work, but of the “students” she did reach many spoke no English, and

 most had never heard of MJI.

           378.   During her employment at MJI, Relater was able to identify only sixty-three real

 students who were following a legitimate course of study through MJI. These real students were

 serviced by the registrar’s office, which was separate from the study abroad program. All

 fraudulent students were serviced by the study abroad office.

           379.   Relator drafted a resignation letter dated April 28, 2013 and sent it to Shemtov,

 Leeb, and Graham. In her letter, Relator listed May 12, 2013 as her last day at MJI. However,

 MJI changed her final day of work to May 7, 2013.

           380.   Before leaving MJI, Relator copied the raw data from Long Jump. Relator

 analyzed the data and discovered that since MJI began its scheme to fraudulently receive Pell

 Grants in 2007, 8709 students have been enrolled at MJI’s study abroad program. For these

 8,709 fictitious students, she calculates that MJI has improperly received $40,687,552 in Pell

 Grants.

           381.   Further, Relator discovered that Klein has opened and operates two new

 accounting offices and a collection agency. One of the accounting offices is located in Chicago,

 Illinois and the other is located in Arizona. The collection agency is located in Skokie, Illinois.

 X.        Defendants Retaliate Against Relator


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        382.    After Relator’s constructive discharge, MJI refused to pay her for her last three

 weeks of work. MJI also refused to payout for Relator’s accrued time off, and denied Relator her

 bonus for the eighty-hour weeks she had worked to prepare for the ACICS audit, as well as her

 bonus for implementing CAMS ahead of schedule.

        383.    Relator filed a complaint with the Wage and Hourly Division of Michigan’s

 Department of Licensing and Regulatory Affairs. After filing this complaint, MJI paid Relator

 for her last three weeks of employment at MJI, but did not give her the bonuses and pay for

 accrued time off that she was entitled to.

        384.    Even with her skills, experience, and expertise, Relator has not been able to obtain

 a new position within the educational community. Relator believes that MJI has actively

 interfered with her efforts to regain employment. Specifically, Graham informed Relator that

 MJI would not provide any recommendation or employment verifications for Relator.

                                          COUNT ONE
                                Violations of the False Claims Act
                                    31 U.S.C. § 3729(a)(1)(A)
                                Against Michigan Jewish Institute

        385.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        386.    By virtue of the acts described in the preceding paragraphs, to facilitate its

 fraudulent study abroad program and continue to receive Pell Grant funds, MJI knowingly

 presented or caused to be presented to the United States false or fraudulent claims for payment or

 approval in violation of the FCA.

        387.    As a qualified education institution, MJI must comply with the laws and

 regulations set forth in the Higher Education Act of 1965 as amended.



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         388.    As an eligible educational institution MJI was required to conduct regular audits

 and submit attestations to DEd confirming that MJI was in compliance with federal laws and

 regulations related to the HEA’s requirements.

         389.    MJI devised a fraudulent scheme of to retain Title IV, HEA funds by enrolling

 students in MJI’s study abroad program without the knowledge or consent of the students and by

 creating fictitious students.

         390.    In addition, MJI enrolled fictitious students in its study abroad program. MJI then

 applied for Pell Grants for these students.

         391.      MJI knowingly presented and continues to be presented falsified student

 information to the Government to receive Pell Grants.

         392.    MJI also falsified student documents to pass an accreditation audit by the ACICS.

         393.    Relator has first-hand knowledge of MJI’s fraudulent scheme to enroll fictitious

 student in order to receive Pell Grant funds.

         394.    Relator has first-hand knowledge of MJI’s fraudulent scheme to enroll students in

 its study abroad program without the students’ knowledge or consent, so that MJI could apply for

 and receive Pell Grant funds for the students.

         395.    Defendant knowingly presented and continues to be presented falsified student

 information to the Government to receive Pell Grants.

                                             COUNT TWO
                                   Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(A)
                                 Against Chabad-Lubavitch of Michigan

         396.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.



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        397.    By virtue of the acts described in the preceding paragraphs, the Chabad

 knowingly presented or caused to be presented to the United States false or fraudulent claims for

 payment or approval in violation of the FCA.

        398.    MJI is a close affiliate of the Chabad, and acts at the direction of the Chabad.

        399.    The Chabad benefited financially from the Pell Grant funds that MJI fraudulently

 collected for its study abroad students.

        400.    Defendant knowingly presented and continues to be presented falsified student

 information to the Government to receive Pell Grants.

                                        COUNT THREE
                                Violations of the False Claims Act
                                    31 U.S.C. § 3729(a)(1)(A)
                                        Against The Shul

        401.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        402.    By virtue of the acts described in the preceding paragraphs, the Shul knowingly

 presented or caused to be presented to the United States false or fraudulent claims for payment or

 approval in violation of the FCA.

        403.    The Shul benefited financially from the Pell Grant funds that MJI fraudulently

 collected for its study abroad students.

        404.    The Shul falsified its records to reflect that MJI held classes at the Shul, in an

 attempt to legitimize MJI’s fraudulent practices. As a result, MJI was able to fraudulently obtain

 Pell Grant funds and the Shul received a portion of the fraudulently obtained Pell Grant Funds.

        405.    Defendant knowingly presented and continues to be presented falsified student

 information to the Government to receive Pell Grants.



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                                         COUNT FOUR
                                Violations of the False Claims Act
                                    31 U.S.C. § 3729(a)(1)(A)
                                    Against Friendship Circle

        406.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        407.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 presented or caused to be presented to the United States false or fraudulent claims for payment or

 approval in violation of the FCA.

        408.    Friendship Circle is an affiliate of MJI and the Chabad and MJI.

        409.    Friendship Circle falsified its records in an attempt to legitimize MJI’s fraudulent

 practices. As a result, MJI was able to fraudulently obtain Pell Grant funds and Friendship Circle

 received a portion of the fraudulently obtained Pell Grant Funds.

        410.    Defendant knowingly presented and continues to be presented falsified student

 information to the Government to receive Pell Grants.

                                         COUNT FIVE
                                Violations of the False Claims Act
                                    31 U.S.C. § 3729(a)(1)(A)
                                 Against Rabbi Kasriel Shemtov

        411.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        412.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 presented or caused to be presented to the United States false or fraudulent claims for payment or

 approval in violation of the FCA.




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        413.    Shemtov orchestrated and carried out MJI’s fraudulent study abroad scheme of to

 retain Title IV, HEA funds by enrolling students in MJI’s study abroad program without the

 knowledge or consent of the students and by creating fictitious students.

        414.    Shemtov fraudulently enrolled Mayanot Birthright participants in MJI’s study

 abroad scheme without the students’ knowledge or consent, in order to receive Pell Grant funds

 from the United States government.

        415.    Shemtov created yeshivas/seminaries in Israel so that he could enroll the students

 from those yeshivas/seminaries in MJI’s study abroad scheme without the students’ knowledge

 or consent, in order to receive Pell Grant funds from the United States government.

        416.    Shemtov entered into agreements with yeshivas/seminaries in order to purchase

 lists of students so that he could enroll the students in MJI’s study abroad scheme without the

 students’ knowledge or consent, in order to receive Pell Grant funds from the United States

 government.

        417.    Defendant knowingly presented and continue to be presented falsified student

 information to the Government to receive Pell Grants.

        418.    Shemtov also facilitated MJI’s falsification of student documents to pass an

 accreditation audit by the ACICS.

                                           COUNT SIX
                                Violations of the False Claims Act
                                    31 U.S.C. § 3729(a)(1)(A)
                                   Against Rabbi Yudi Mann

        419.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.




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        420.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 presented or caused to be presented to the United States false or fraudulent claims for payment or

 approval in violation of the FCA.

        421.    Mann orchestrated and carried out MJI’s fraudulent study abroad scheme of to

 retain Title IV, HEA funds by enrolling students in MJI’s study abroad program without the

 knowledge or consent of the students and by creating fictitious students.

        422.    Mann represented MJI during his trips to Israel in which he approached

 yeshiva/seminaries to purchase lists of students so that MJI could enroll them in its fraudulent

 study abroad program without the students’ knowledge or consent, and obtain Pell Grant funds

 for the students.

        423.    Mann employed a team of recruiters in Israel in order to target more

 yeshivas/seminaries.

        424.    Mann and his recruiters received a commission-based compensation from MJI.

 Mann received a percentage of the total amount of the study abroad students’ tuition, paid for by

 Pell Grant funds.

        425.    Mann knowingly presented and continues to be presented falsified student

 information to the Government to receive Pell Grants.

        426.    Additionally, Mann also facilitated MJI’s falsification of student documents to

 pass an accreditation audit by the ACICS.

                                             COUNT SEVEN
                                     Violations of the False Claims Act
                                         31 U.S.C. § 3729(a)(1)(B)
                                     Against Michigan Jewish Institute

        427.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.
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         428.      By virtue of the acts described in the preceding paragraphs, MJI knowingly made

 and used, and continues to make and use, of false records to submit Pell Grant applications and

 receive federal funds.

         429.      As a qualified education institution, MJI must comply with the laws and

 regulations set forth in the Higher Education Act of 1965 as amended.

         430.      As an eligible educational institution MJI was required to conduct regular audits

 and submit attestations to DEd confirming that MJI was in compliance with federal laws and

 regulations related to the HEA’s requirements.

         431.      MJI devised a fraudulent scheme of to retain Title IV, HEA funds by enrolling

 students in MJI’s study abroad program without the knowledge or consent of the students and by

 creating fictitious students.

         432.      MJI knowingly falsified study abroad enrollment applications and Pell Grant

 applications for students who had no intention of signing up for MJI’s study abroad program.

         433.      MJI knowingly invented fictitious students and then falsified study abroad

 enrolment applications and Pell Grant applications in the names of these fictitious students.

         434.      MJI forged study abroad enrollment applications and Pell Grant applications

 easily because all forms require an “electronic” signature, which is a student’s name typed on the

 signature line.

         435.      As an eligible educational institution, MJI was required to enter into a PPA, in

 which MJI agreed to abide by a host of statutory, regulatory, and contractual requirements in

 order to receive Title IV HEA funds.

         436.      MJI fraudulently entered into a PPA and violated the requirements needed to

 receive Title IV HEA funds.


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        437.    MJI created fictitious students and fictitious personal information to meet the

 requirements for a Pell Grant, forged students’ signatures on Pell Grant applications, and

 subsequently receive federal funds.

        438.    MJI used the names and demographic information of individuals without their

 knowledge or consent in order to enroll them as MJI students, falsify FAFSA applications for

 them, and received Pell Grant funds.

        439.    MJI knowingly created and submitted falsified documents to ACICS auditors in

 order to mislead ACICS to renew MJI’s accreditations.

                                            COUNT EIGHT
                                   Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(B)
                                 Against Chabad-Lubavitch of Michigan

        440.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        441.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, of false records to submit Pell Grant applications

 and receive federal funds.

        442.    MJI is a close affiliate of the Chabad, and acts at the direction of the Chabad.

        443.    The Chabad benefited financially from the Pell Grant funds that MJI fraudulently

 collected for its study abroad students.

        444.    The Chabad supported and facilitated MJI’s fraudulent study abroad program and

 was fully aware of MJI’s fraudulent practices that led to MJI receiving Pell Grant funds.

        445.    The Chabad, through its close affiliation with MJI, knowingly submitted falsified

 financial aid forms in order to fraudulently receive Pell Grant funds.



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                                             COUNT NINE
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(B)
                                            Against The Shul

        446.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        447.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, of false records to submit Pell Grant applications

 and receive federal funds.

        448.    The Shul benefited financially from the Pell Grant funds that MJI fraudulently

 collected for its study abroad students.

        449.    The Shul falsified its records and submitted them to reflect that MJI held classes

 at the Shul, in an attempt to legitimize MJI’s fraudulent practices. As a result, MJI was able to

 fraudulently obtain Pell Grant funds and the Shul received a portion of the fraudulently obtained

 Pell Grant Funds.

        450.    Defendant knowingly presented and continues to be presented falsified student

 information to the Government to receive Pell Grants.

        451.    Defendant knowingly created and submitted falsified documents to mislead

 ACICS auditors so that the ACICS would renew MJI’s accreditations.

                                              COUNT TEN
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(B)
                                        Against Friendship Circle

        452.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.




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        453.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, of false records to submit Pell Grant applications

 and receive federal funds.

        454.    Friendship Circle is an affiliate of the Chabad Lubavitch and mingled finances

 with MJI and the Shul.

        455.    Friendship Circle falsified and submitted its records in an attempt to legitimize

 MJI’s fraudulent practices. As a result, MJI was able to fraudulently obtain Pell Grant funds and

 Friendship Circle received a portion of the fraudulently obtained Pell Grant Funds.

                                            COUNT ELEVEN
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(B)
                                     Against Rabbi Kasriel Shemtov

        456.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        457.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, of false records to submit Pell Grant applications

 and receive federal funds.

        458.    Defendant knowingly falsified MJI enrollment applications and Pell Grant

 applications for students who had no intention of signing up for MJI’s study abroad program.

        459.    Defendant knowingly invented fictitious students and then falsified MJI

 enrolment applications and Pell Grant applications in the names of these fictitious students.

        460.    Under Defendant’s supervision, MJI forged students signatures on study abroad

 enrollment applications and Pell Grant applications easily because all forms require an

 “electronic” signature, which is a student’s name typed on the signature line. .



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          461.   Shemtov created yeshivas/seminaries in Israel so that he could enroll the students

 from those yeshivas/seminaries in MJI’s study abroad scheme without the students’ knowledge

 or consent, in order to receive Pell Grant funds from the United States government. Therefore, he

 knowingly created and submitted false records to obtain Pell Grant funds.

          462.   Shemtov entered into agreements with yeshivas/seminaries in order to purchase

 lists of students so that he could enroll the students in MJI’s study abroad scheme without the

 students’ knowledge or consent, in order to receive Pell Grant funds from the United States

 government. Therefore, he knowingly created and submitted false records to obtain Pell Grant

 funds.

          463.   Defendants knowingly presented and continue to be presented falsified student

 information to the Government to receive Pell Grants.

          464.   Shemtov also facilitated MJI’s falsification of student documents to pass an

 accreditation audit by the ACICS. Therefore, he knowingly created and submitted false records

 to the ACICS in order to renew MJI’s accreditations.

                                           COUNT TWELVE
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(B)
                                       Against Rabbi Yudi Mann

          465.   Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

          466.   By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, of false records to submit Pell Grant applications

 and receive federal funds.




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          467.   Defendant knowingly falsified MJI enrollment applications and Pell Grant

 applications for students who had no intention of signing up for MJI’s study abroad program.

 Therefore, he knowingly created and submitted false records to obtain Pell Grant funds.

          468.   Defendant knowingly invented fictitious students and then falsified MJI

 enrolment applications and Pell Grant applications in the names of these fictitious students.

 Therefore, he knowingly created and submitted false records to obtain Pell Grant funds.

          469.   Defendant forged MJI enrollment applications and Pell Grant applications easily

 because all forms require an “electronic” signature, which is a student’s name typed on the

 signature line. Therefore, he knowingly created and submitted false records to obtain Pell Grant

 funds.

          470.   Defendant knowingly created and submitted false records to the ACICS in order

 to renew MJI’s accreditations.

                                          COUNT THIRTEEN
                                    Conspiracy to Submit False Claims
                                        31 U.S.C. § 3729(a)(1)(C)
                                          As to All Defendants

          471.   Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

          472.   Through the acts and omissions described in this Complaint and from on or before

 at least 2007 through present, Defendants and persons known and unknown, knowingly agreed

 and conspired to defraud the federal government by having false or fraudulent statements,

 records, certifications, and claims submitted to and approved by Title IV of the HEA.

          473.   The operations of the six Defendants and the yeshivas and seminaries in Israel are

 so intertwined that they are effectively one single enterprise.



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        474.    Defendants conspired with Israeli yeshivas and seminaries as “host schools” to

 create a database of students who Defendants would then enroll as MJI students. MJI then

 falsified these students’ records in order to receive Pell Grants.

        475.    Defendants conspired to falsify information to mislead ACICS auditors in order to

 renew MJI’s accreditations and continue to defraud the federal government.

        476.    Through their conspiracy to defraud the federal government, MJI has received

 $40,687,552 by submitting falsified Pell Grant applications, starting in 2007 and continuing to

 the present.

                                          COUNT FOURTEEN
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(G)
                                    Against Michigan Jewish Institute

        477.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        478.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continue to make and use, false records and statements to transmit money

 from the federal government.

        479.    Further, Defendant knowingly concealed and knowingly avoided an obligation to

 transit money to the federal government. Defendant fraudulently received Pell Grant funds from

 Title IV of the HEA and avoided its obligation to return the money to the federal government.

        480.    Defendant acknowledged having to return some of the Pell Grant funding that it

 had fraudulently received to the federal government. However, it never did so.

                                           COUNT FIFTEEN
                                   Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(G)
                                 Against Chabad-Lubavitch of Michigan


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         481.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

         482.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, false records and statements to transmit money

 from the federal government.

         483.    Further, Defendant knowingly concealed and knowingly avoided an obligation to

 transit money to the federal government.

         484.    MJI is a close affiliate of the Chabad, and acts at the direction of the Chabad.

         485.    The Chabad benefited financially from the Pell Grant funds that MJI fraudulently

 collected for its study abroad students.

         486.    The Chabad was aware of MJI’s fraudulent study abroad program and receipt of

 fraudulent Pell Grant funds.

         487.    Defendant fraudulently benefited from MJI’s fraudulent acts that allowed it to

 receive Pell Grant funds and avoided its obligation to return the money to the federal

 government.

         488.    Defendant knew that it had to return the fraudulently obtained Pell Grant funds,

 but it failed to do so.

                                            COUNT SIXTEEN
                                     Violations of the False Claims Act
                                         31 U.S.C. § 3729(a)(1)(G)
                                             Against The Shul

         489.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.




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         490.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, false records and statements to transmit money

 from the federal government.

         491.    Further, Defendant knowingly concealed and knowingly avoided an obligation to

 transit money to the federal government.

         492.    The Shul benefited financially from the Pell Grant funds that MJI fraudulently

 collected for its study abroad students.

         493.    The Shul was aware of MJI’s fraudulent study abroad program and receipt of

 fraudulent Pell Grant funds.

         494.    Defendant fraudulently benefited from MJI’s fraudulent acts that allowed it to

 receive Pell Grant funds and avoided its obligation to return the money to the federal

 government.

         495.    Defendant knew that it had to return the fraudulently obtained Pell Grant funds,

 but it failed to do so.

                                         COUNT SEVENTEEN
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(G)
                                        Against Friendship Circle

         496.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

         497.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, false records and statements to transmit money

 from the federal government.

         498.    Further, Defendant knowingly concealed and knowingly avoided an obligation to

 transit money to the federal government.
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         499.    Friendship Circle benefited financially from the Pell Grant funds that MJI

 fraudulently collected for its study abroad students.

         500.    Friendship Circle was aware of MJI’s fraudulent study abroad program and

 receipt of fraudulent Pell Grant funds.

         501.    Defendant fraudulently benefited from MJI’s fraudulent acts that allowed it to

 receive Pell Grant funds and avoided its obligation to return the money to the federal

 government.

         502.    Defendant knew that it had to return the fraudulently obtained Pell Grant funds,

 but it failed to do so.

                                          COUNT EIGHTEEN
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(G)
                                     Against Rabbi Kasriel Shemtov

         503.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

         504.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, false records and statements to transmit money

 from the federal government.

         505.    Further, Defendant knowingly concealed and knowingly avoided an obligation to

 transit money to the federal government. Defendant fraudulently received Pell Grant funds from

 Title IV of the HEA and avoided his obligation to return the money to the federal government.

         506.    Shemtov was fully aware that MJI fraudulently received Pell Grant funds and had

 an obligation to return the funds. However, he did not instruct MJI to return the funds.




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                                          COUNT NINETEEN
                                    Violations of the False Claims Act
                                        31 U.S.C. § 3729(a)(1)(G)
                                       Against Rabbi Yudi Mann

        507.    Relator alleges and incorporated by reference the allegations made in all of the

 preceding paragraphs of this Complaint.

        508.    By virtue of the acts described in the preceding paragraphs, Defendant knowingly

 made and used, and continues to make and use, false records and statements to transmit money

 from the federal government.

        509.    Further, Defendant knowingly concealed and knowingly avoided an obligation to

 transit money to the federal government.

        510.    Mann’s compensation from MJI depended directly on the amount of Pell Grant

 funds MJI fraudulently received. As a result, Mann was fully aware that MJI fraudulently

 received Pell Grant funds and had an obligation to return the funds. However, he did not return

 the funds.

                                           COUNT TWENTY
                                               Retaliation
                                           31 U.S.C. § 3730(h)
                                    Against Michigan Jewish Institute

        511.    Klobuchar realleges and incorporates the allegations set forth above as though

 fully alleged therein.

        512.    Klobuchar was an “employee,” and MJI is an “employer,” as the terms are

 defined by the False Claims Act.

        513.    As set forth above, and in connection with the foregoing scheme, MJI knowingly

 submitted false claims for payment by the Government in violation of the FCA.




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           514.   Klobuchar engaged in protected activity by sharing her complaints about MJI’s

 fraudulent behavior with the former Chief Operations Officer and President of MJI.

           515.   As a result of Klobuchar’s protected activity, MJI retaliated against her by

 blocking her access to information technology systems that she needed to complete her job

 duties.

           516.   As a result of Klobuchar’s protected activity, MJI diminished Klobuchar’s role

 over time so that she would no longer have meaningful duties.

           517.   After informing MJI of the various frauds it had committed, Klobuchar decided

 that remaining at MJI would be to help perpetuate the frauds that it was committing. Therefore,

 Klobuchar tendered her resignation.

           518.   As a result of Klobuchar’s protected activity, MJI continued to retaliate Relater

 after her against diminished Relator after her constructive discharge by withholding her pay for

 her last three weeks of employment at MJI, the bonuses she was entitled to, and the pay she was

 entitled to for accrued time off.

           519.   To redress the harms he has suffered as a result of the acts and conduct of MJI in

 violation of 31 U.S.C. § 3730(h), Klobuchar is entitled to damages including but not limited to

 litigation costs and reasonable attorneys’ fees.

                                       PRAYER FOR RELIEF

           WHEREFORE, the United States is entitled to damages from Defendants in accordance

 with the provisions of 31 U.S.C. §§ 3729-3730, and Relator requests that judgment be entered

 against Defendants, ordering that:

           a. Defendant cease and desist from violating the False Claims Act, 31 U.S.C. §§ 3729,

              et seq.;


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       b. Defendant pay an amount equal to three times the amount of the damages the United

           States has sustained because of Defendant’s actions;

       c. Defendant pay the maximum civil penalties allowable to be imposed for each false or

           fraudulent claim presented to the United States;

       d. Plaintiff/Relator be awarded the maximum amount allowed pursuant to the FCA;

       e. Plaintiff/Relator be awarded two times the amount of back pay, interest on the back

           pay, and compensation for damages Relator sustained as a result of Defendants’

           discrimination against her;

       f. Plaintiff/Relator be awarded all costs of this action, including attorneys’ fees,

           expenses, and costs;

       g. The United States and Plaintiff/Relator be granted all such other relief as the Court

           deems just and proper.



 October 26, 2017




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                                                 Respectfully submitted,

                                                 HARON LAW GROUP


                                         By:     __/s/ David L. Haron___________________
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                                                 Attorney for Qui Tam Plaintiff

                                                 ____/s/ David L. Scher___________________
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                                  DEMAND FOR A JURY TRIAL

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure and pursuant to the local

 rules of this Court, the Relator demands a jury trial as to all issues so triable.



 Dated: October 26, 2017

                                                 Respectfully submitted,

                                                 HARON LAW GROUP


                                         By:     _/s/ David L. Haron____________________
                                                 David L. Haron, Esq. (P14655)


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                        ____/s/ David L. Scher_______________________
                                      David L. Scher, Esq.
                                      (Admitted to practice in the E.D. of Michigan)




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